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 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TEXAS
            SAN ANTONIO DIVISION


 HOUSTON JUSTICE, HOUSTON AREA URBAN
 LEAGUE, DELTA SIGMA THETA SORORITY,
 INC., THE ARC OF TEXAS, and JEFFREY
 LAMAR CLEMMONS

                                 Plaintiffs,
                                                                         5:21-cv-00848
                                                         Civil Case No. ___________________
         v.

 GREGORY WAYNE ABBOTT, in his official
 capacity as Governor of Texas; JOSE ESPARZA, in
 his official capacity as Deputy Secretary of State of
 Texas; WARREN KENNETH PAXTON, JR., in his
 official capacity as Attorney General of Texas;
 JACQUE CALLANEN, in her official capacity as
 Elections Administrator of Bexar County; and
 ISABEL LONGORIA, in her official capacity as
 Elections Administrator of Harris County.

                                 Defendants.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs Houston Justice, Houston Area Urban League, Delta Sigma Theta Sorority, Inc.,

the Arc of Texas, and Jeffrey Lamar Clemmons (collectively, “Plaintiffs”) file this Complaint for

Declaratory and Injunctive Relief to challenge the constitutionality and legality of Texas Senate

Bill 1, and allege as follows:

                                   NATURE OF THE CASE

       1.       As President Ronald Reagan once said, “[f]or this nation to remain true to its

principles, we cannot allow any American's vote to be denied, diluted or defiled. The right to vote

is the crown jewel of American liberties, and we will not see its luster diminished.” In the effort




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to protect the crown jewel of American liberties, this lawsuit challenges certain amendments to

the Texas Election Code enacted through Senate Bill 1 (“S.B. 1”).

       2.      The United States Supreme Court has explained that the right to vote is “a

fundamental matter in a free and democratic society.” Harper v. Va. State Bd. of Elections, 383

U.S. 663, 667 (1966). “No right,” the Court has held, “is more precious in a free country than that

of having a voice in the election of those who make the laws under which, as good citizens, we

must live.” Wesberry v. Sanders, 376 U.S. 1, 17 (1964); see also Yick Wo v. Hopkins, 118 U.S.

356, 370 (1886) (voting is “preservative of all rights.”).

       3.      For the past 150 years, the State of Texas has had a long track record of excluding

and discouraging Black and Latino residents of the State from exercising this precious and

fundamental right. See infra Section A. Voters with disabilities, including Black and Latino voters

with disabilities, have also persistently experienced barriers in accessing their right to vote in

Texas. See infra Section D. The State’s policies of exclusion and restrictive voting laws have

resulted in chronically low voter turnout.1

       4.      While the State has seen recent gains in turnout, including in the 2018 midterm

election, even those gains left the State woefully behind the national average and ranked eleventh

lowest in the country.2


1
   See, e.g., Fernando Ramirez, Voter Turnout in Texas is Dead Last in America, Study Finds,
Houston Chronicle (Sept. 19, 2018, 3:34 PM), https://www.houstonchronicle.com/news/houston-
texas/texas/article/Voter-turnout-in-Texas-is-dead-last-in-America-13241845.php; Scot
Schraufnagel, Michael J. Pomante II, & Quan Li, Cost of Voting in the American States: 2020, 19
Election L. J. (Issue 4) 503, 506-507 (2020); Ross Ramsey, Analysis: It’s harder to vote in Texas
than in any other state, Texas Tribune, (Oct. 19, 2020, 4:00 AM),
https://www.texastribune.org/2020/10/19/texas-voting-elections/.
2
  Elbert Wang, Texas Saw the Nation’s Sixth-Highest Voter Turnout Increase, But Still Lagged
Behind Most Other States, Texas Tribune (Dec. 7, 2018, 12:00 AM),
https://www.texastribune.org/2018/12/07/texas-voter-turnout-sixth-highest-increase-2018-
midterms/.


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       5.      The recent 2020 elections, conducted in the midst of a global pandemic, were a

push-and-pull between efforts to expand access to the franchise and backlash aimed toward

preserving the exclusionary status quo.

       6.      During the March 2020 primary, voters were particularly motivated to vote, but

encountered serious obstacles to doing so, in part because the infrastructure was insufficient to

accommodate increased participation.

       7.      For example, in one location in Harris County, voters waited as long as six hours

to vote.3 Early estimates indicated that there was a 45% increase in Democratic participation in

Harris County alone, which left these voters in particularly long lines as the political parties held

separate primaries, requiring separate voting booths and ballots within a single polling

location. At Texas Southern University (“TSU”), a historically Black University that served as a

polling location, one voter waited until after 1:00 am to cast a ballot.4

       8.      In response, Harris County took several measures to ensure voting access for the

2020 general election, including (1) increasing the county’s election budget for the 2020 general




3
 Matt Harab & Andrew Schneider, Who’s to Blame for Long Lines on Super Tuesday? Depends
on who You Ask, Houston Public Media (March 5, 2020, 4:09 PM),
https://www.houstonpublicmedia.org/articles/news/politics/election-
2020/2020/03/04/362662/local-officals-explain-long-lines-on-super-tuesday/; Jen    Rice, TSU
Voters Waited Hours to Cast a Ballot on Super Tuesday. Harris County Says it Won’t Happen
Again,       Houston       Public Media (Oct.         30,         2020,       5:29     AM),
https://www.houstonpublicmedia.org/articles/news/politics/election-
2020/2020/10/29/384985/voting-problems/.
4
  Jen Rice, TSU Voters Waited Hours to Cast a Ballot on Super Tuesday. Harris County
Says it Won’t Happen Again, Houston Public Media (Oct. 30, 2020, 5:29 AM),
https://www.houstonpublicmedia.org/articles/news/politics/election-
2020/2020/10/29/384985/voting-problems/.



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election by $29 million (from $4 million in 2016 to $33 million in 2020);5 (2) moving the county

clerk’s election headquarters to a 100,000 square foot arena; (3) tripling the number of early and

Election Day polling locations, including twelve mail-in ballot drop-off locations, drive-thru

voting centers, and six 24-hour polling locations;6 (4) increasing the number of voting machines

by 50% at polling places in the county; and (5), in direct response to the issue of long lines at

TSU, tripling the number of voting machines available at the University.

          9.    Other localities in Texas also sought to expand access to the ballot. San Antonio,

Dallas, Houston, and Austin, all cities with high populations of Black and Latino residents, made

voting mega-centers available, in an effort to ease the burden of long lines.7 Tarrant County added

eight polling locations throughout the county to keep up with high early voting turnout.8 And

Travis County set up four mail-in ballot drop-off locations.9




5
 Karen Brooks Harper & Emma Platoff, Harris County tried to make voting easier during the
pandemic. Texas Republicans fought every step of the way., Texas Tribune, (Oct. 15, 2020, 11:00
AM), https://www.texastribune.org/2020/10/15/harris-county-texas-voting/.
6
    Id.
7
 Here’s Where You Can Vote Early in Austin and Central Texas, Statesmen News Network (Feb.
17, 2020, 4:14 PM), https://www.statesman.com/news/20200217/herersquos-where-you-can-
vote-early-in-austin-and-central-texas; RJ Marquez, How AT&T Center Will Transform to Become
Mega Voting Site in Bexar County, KSAT (Sept. 11, 2020, 12:21 PM),
https://www.ksat.com/news/local/2020/09/08/how-att-center-will-transform-to-become-mega-
voting-site-in-bexar-county/.
8
  Brian Lopez, Tarrant County will add 8 election sites amid high early voting turnout, Star
Telegram, (Oct. 20, 2020, 7:00 AM), https://www.star-telegram.com/news/politics-
government/election/article246592083.html.
9
  Ashley Lopez, Texas Governor Limits Ballot Drop-Off Locations, Local Officials Vow to Fight
Back, NPR (Oct. 1, 2020, 6:29 PM), https://www.npr.org/2020/10/01/919283793/texas-governor-
limits-ballot-drop-off-locations-local-officials-vow-to-fight-bac.



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          10.    Higher voter turnout by Blacks and Latinos was not good news for everyone. The

State responded by attempting to re-erect barriers to voting.10 Governor Abbott issued an

Executive Order restricting each county to maintain only one ballot drop-off location, irrespective

of the county’s size or population forcing some voters to have to drive twenty or thirty miles to

vote.11

          11.    Some private individuals also responded in kind. Private plaintiffs tried (and

ultimately failed) to have over 120,000 votes cast using drive-thru voting in Harris County—a

county with a high Black and Latino population—discarded.12

          12.    Black and Latino voters faced a significant increase in voter intimidation,

harassment, and threats, including by armed groups.13 In the 2020 presidential election alone, the


10
     See Proclamation by the Governor of the State of Texas (Oct. 1, 2020),
https://gov.texas.gov/uploads/files/press/PROC_COVID-
19_Nov_3_general_election_IMAGE_10-01-2020.pdf., and Ashley Lopez, Texas Voters are
Caught in the Middle of a Battle over Mail-in Voting, NPR, (May 29, 2020, 5:00 AM),
https://www.npr.org/2020/05/29/864143739/texas-voters-are-caught-in-the-middle-of-a-battle-
over-mail-in-voting; State v. Hollins, No. 20-0729, 2020 WL 5919729 (Tex. Oct. 7, 2020) (State
of Texas sued Harris County Clerk after he proposed mailing unsolicited ballot applications to all
registered voters under 65 years of age, only a fraction of whom were eligible to vote by
mail according to the State and Texas Supreme Court held Clerk lacked implied authority under
the Election Code to mail unsolicited ballot applications).
11
     See Tex. League of United Latin American Citizens v. Hughs, 978 F.3d 136 (5th Cir. 2020).
12
   Hotze v. Hollins, No. 4:20-cv-03709, 2020 WL 6437668, *7-12 (S.D. Tex. Nov. 2, 2020)
(denying plaintiffs standing to sue to prohibit the use of drive-thru voting centers and to prevent
counting ballots cast using drive-thru voting).
13
   See, e.g., Kevin Krause & Charles Scudder, Far-right Extremists Pose Rising Threat in North
Texas around Election, FBI’s Dallas Office Says, The Dallas Morning News (Oct. 1, 2020, 8:16
PM),        https://www.dallasnews.com/news/crime/2020/10/01/far-right-extremists-pose-rising-
threat-in-north-texas-around-election-fbis-dallas-office-says/; Angela Kocherga, Racism, Hate
Crimes Weigh On Latino Voters’ Minds In El Paso, Texas Standard (Oct. 22, 2020, 10:05 AM),
https://www.texasstandard.org/stories/racism-hate-crimes-weigh-on-Latino-voters-minds-in-el-
paso/; Coalition Urges US to Protect Voters from White Supremacist Threats, Human Rights
Watch (Oct. 7, 2020, 6:00PM), https://www.hrw.org/news/2020/10/07/coalition-urges-us-protect-
voters-white-supremacist-threats#.



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non-partisan Election Protection coalition received some 267 reports of voter intimidation in

Texas, many of which were reports of intimidation by armed citizens or organized demonstrators

close to polling locations.14 And on Election Day, voters in Hidalgo County reported two men

with visible firearms freely walking around a polling location speaking with voters, despite clear

signs at the location that no firearms were allowed.15

           13.   Despite these barriers, Texas’s voter turnout for the 2020 general election broke

records as the highest in almost thirty years, up 6.6 percentage points from voter turnout from the

last general election in 2016.16 Importantly, early voting, both in person and through the mail,

was a key factor in this increase in turnout, accounting for over 9.7 million of the 11.3 million

votes cast (over 85%).17

           14.   Harris County in particular, which includes most of the city of Houston, saw its

highest voter turnout since 1992, accounting for more than 1.6 million of the votes cast in the 2020




14
  Judy Bao, Voter Intimidation in Texas During the 2020 General Election, Tex. C.R. Project
(Feb. 2021), https://txcivilrights.org/wp-content/uploads/2021/02/Voter-Intimidation-report.pdf.
15
     Id.
16
   Shannon Najmabadi & Mandi Cai, Democrats hoped high turnout would usher in a blue wave
across    Texas.     It   didn’t.,  Texas     Tribune    (Nov.   4,     2020, 7:00   PM),
https://www.texastribune.org/2020/11/04/texas-voter-turnout-democrats/.
17
   See Jeremy Schwartz & Mandi Cai, Texas is on track for record turnout in this election after
breaking      early    voting    records,     KSAT      (Oct.    31,     2020,    12:02      PM),
https://www.ksat.com/news/texas/2020/10/31/texas-is-on-track-for-record-turnout-in-this-
election-after-breaking-early-voting-records/, and Texas Presidential Election Results 2020, NBC
News, https://www.nbcnews.com/politics/2020-elections/texas-president-results (last updated
Mar. 31, 2021).



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general election.18 Dallas County also broke turnout records in the 2020 general election,

surpassing its early voting record set in 2016.19

       15.     Voters of color demonstrated a motivation to vote in the 2020 general election and

overcame substantial barriers to account for 40% of the overall Texas votes in the 2020 general

election.20

       16.     Black and Latino voters, including voters with disabilities, benefited in particular

from counties’ efforts to expand access to the ballot. In Harris County, Black and Latino voters

cast more than half the ballots at both drive-thru voting centers and at the extended-

hour locations.21

       17.     Instead of building on the progress of increased voter turnout by Latinos and

Blacks, now, through certain provisions of an omnibus elections bill—S.B. 1—the State again

seeks to further burden the right to vote and curtail the participation of Black and Latino voters by

targeting the methods and opportunities to vote that these voters availed themselves of in droves




18
   See Jake Lahut, Massive turnout in Houston is making Texas a top state to watch, Business
Insider, (Nov. 3, 2020, 5:38 PM), https://www.businessinsider.com/harris-county-turnout-
numbers-texas-flip-2020-11, and Texas Presidential Election Results 2020, NBC
News, https://www.nbcnews.com/politics/2020-elections/texas-president-results (last updated
Mar. 31, 2021).
19
   Jozelyn Escobedo, How the four major counties in North Texas voted during the 2020 election,
WFAA (Nov. 4, 2020, 12:06 PM), https://www.wfaa.com/article/news/politics/elections/voter-
turnout-2020-presidential-election-north-texas/287-64a24012-a038-49d7-8db3-26d0923994c5
(last updated Nov. 4, 2020, 8:51 PM).
20
  Texas Presidential Election Results 2020, NBC News, https://www.nbcnews.com/politics/2020-
elections/texas-president-results (last updated Mar. 31, 2021).
21
  Alexa Ura, Restrictions on Texas Voting could tighten under Republican bill advanced by Senate
Committee,       Texas        Tribune,       (Mar.        26,     2021,         11:00      PM),
https://www.texastribune.org/2021/03/26/texas-voting-access-republican-legislature/.



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during the November 2020 election—an election in which voters of color participated in record

numbers.22

       18.    S.B. 1, which was proffered as a measure to ensure election integrity in Texas,

passed on a party-line vote, was signed into law by Governor Abbott on September 1, 2021, and

becomes effective 91 days after the second special legislative session ends.

       19.    The legislative process leading up to S.B. 1’s passage was unprecedented. During

the regular legislative session, when called for a final vote on S.B. 7, the predecessor to S.B. 1,

lawmakers in the House staged a walkout to avoid passage. In response, Governor Abbott vetoed

a bill funding the legislature to pressure lawmakers by withholding pay. The Governor then called

a special legislative session in part to pass an election integrity bill, prompting lawmakers in the

House to leave the state for several weeks to again avoid passing the bill. House Republicans

issued civil arrest warrants to force lawmakers back to the chamber to consider the bill. Despite

principled opposition from many affected individuals and civil rights organizations, S.B. 1 was

ultimately passed in a second special session, once again called in part to accomplish Governor

Abbott’s goal of promoting so-called election integrity. Its provisions make voting harder for

Latinos and Blacks. Its provisions discourage rather than encourage what President Reagan called

the crown jewel of American liberties.




22
   See, e.g., Matt Goodman, Election Day Arrives on the Heels of Historic Early Voting Turnout
in         North       Texas, DMagazine (Nov.         2,       2020,        11:22        AM),
https://www.dmagazine.com/frontburner/2020/11/election-day-2020-dallas-county-north-texas/;
John Engel, Travis County Finalizing Plan for Five Mega Voting Centers, KXAN (Aug. 31, 2020,
9:59PM), https://www.kxan.com/news/your-local-election-hq/travis-county-finalizing-plan-for-
five-mega-voting-centers/; Garrett Brnger & Misael Gomez, Mega Voting Centers a
Go For November Election, County Commissioners Looking at More Voting Options, KSAT
(Aug. 14, 2020, 8:13PM), https://www.ksat.com/news/local/2020/08/15/mega-voting-centers-a-
go-for-november-election-county-commissioners-looking-at-more-voting-options/.


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       20.     Instead of making the election process safer or more secure, S.B. 1 eliminates

methods and opportunities of voting disproportionately used by Black and Latino voters,

burdening or effectively disenfranchising these voters by raising the time, cost, and risk associated

with exercising their constitutional right to vote. The law also erects barriers to voting that will

disproportionately and unlawfully deny equal access to individuals with disabilities.

       21.     Plaintiffs bring this lawsuit to protect their constitutional and federal rights, as well

as the rights of their members and constituencies, and to ensure that the State does not continue to

erect barriers to the franchise that have the intent and effect of denying the vote on account of race

or color. Individually and cumulatively, the challenged provisions of S.B. 1 are intended to, and

will have the effect of, burdening and restricting Black and Latino Texans’ right to vote and the

rights of voters with disabilities.       Specifically, Plaintiffs are challenging the following

unconstitutional and discriminatory provisions of S.B. 1:

        a.     S.B. 1 §§ 3.04, 3.12-3.13, which eliminate drive-thru voting centers;

        b.     S.B. 1 §§ 3.09-3.10, which restricts the scheduling of early voting hours and

               eliminates 24-hour voting;

        c.     S.B. 1 § 3.15, which fully eliminates straight-ticket voting;

        d.     S.B. 1 §§ 4.01-4.04, 4.06, 4.09, which reduce regulations on poll watchers, allowing

               them to roam freely around polling locations and subjecting election officials to a

               class A misdemeanor for knowingly obstructing a poll watcher’s view;

        e.     S.B. 1 § 4.12 which creates a prohibition on vote-by-mail drop boxes;

        f.     S.B. 1 § 5.02 which imposes voter identification requirements on early voting ballot

               applications.




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        g.     S.B. 1 § 7.04, which prohibit election officials from soliciting eligible voters to

               complete an application for a mail-in ballot and distributing unsolicited mail-in

               ballot applications, and prohibits the use of public funds to facilitate third-party

               distribution of such applications;

        h.     S.B. 1 § 6.01, which requires a person who “simultaneously” provides seven or

               more voters with transportation to the polls to complete and sign a form reporting

               their name, address, and whether they are only providing transportation or also

               serving as an assistant to the voters and notes that “a poll watcher is entitled to

               observe any activity conducted under this section”;

        i.     S.B. 1 §§ 6.03, 6.05, which require an assistor to disclose and document their name,

               address, relationship to the voter, and whether the assistor received compensation;

               and makes failure by the assistant to complete the form correctly a state jail felony;

               and

        j.     S.B. 1 § 6.04, which limits the type of assistance that can be provided in voting,

               requiring an assistor to make the following affirmation: “I swear (or affirm) under

               penalty of perjury that the voter I am assisting represented to me they are eligible

               to receive assistance . . . I will confine my assistance to reading the ballot to the

               voter, directing the voter to read the ballot, marking the voter’s ballot, or directing

               the voter to mark the ballot.”

       22.     These provisions will harm all Texas voters, but consistent with Jim Crow era

tradition, the burdens will be disproportionately borne by Black and Latino voters and voters with

disabilities. S.B. 1 intentionally targets and burdens methods and opportunities of voting used by

and responsive to the needs of voters of color, particularly Black and Latino voters, and other



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vulnerable voters, as evidenced by the 2020 elections. Through S.B. 1 §§ 3.04, 3.09-3.10, 3.12-

3.13, 3.15, 4.01-4.04, 4.06, 4.09, 4.12, 5.02, 6.01-6.05, and 7.04 (collectively, the “Challenged

Provisions”), the State increases the time and cost of voting or simply puts the ballot out of reach

for hundreds of thousands of registered voters, in violation of the First, Fourteenth, and Fifteenth

Amendments of the United States Constitution, Sections 2 and 208 of the Voting Rights Act of

1965, Title II of the Americans with Disabilities Act of 1990 and Section 504 of the Rehabilitation

Act of 1973.

       23.     For the reasons described below, this Court should declare that the Challenged

Provisions of S.B. 1 are unconstitutional and in violation of Sections 2 and 208 of the Voting

Rights Act, Title II of the Americans with Disabilities Act and Section 504 of the Rehabilitation

Act and immediately and permanently enjoin Defendants from implementing or enforcing the

Challenged Provisions of S.B. 1 amending the Texas Election Code.

                                 JURISDICTION AND VENUE

       24.     This is a civil rights action arising under the First, Fourteenth, and Fifteenth

Amendments to the U.S. Constitution, and federal law in the Voting Rights Act of 1965, the

Americans with Disabilities Act of 1990 and Section 504 of the Rehabilitation Act of 1973.

       25.     This Court has personal jurisdiction over the named Defendants, who are elected

or appointed officials of the State of Texas, and are residents of the State of Texas.

       26.     This Court has jurisdiction pursuant to 28 U.S.C. § 1343 to redress the deprivation,

under color of state law, of rights, privileges and immunities secured by the Voting Rights Act,

52 U.S.C. § 10301, and pursuant to 28 U.S.C. § 1331 because it arises under the Constitution,

laws, or treaties of the United States.




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       27.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 2201 and 2202 to grant both

declaratory and injunctive relief.

       28.     Venue is proper in the United States District Court for the Western District of Texas

under 28 U.S.C. § 1391(b)(2) because a substantial part of the events or omissions giving rise to

the claims occurred in this district.

                                                PARTIES

       29.     Plaintiff HOUSTON JUSTICE is a nonpartisan, nonprofit organization that

advocates to eradicate homelessness, recidivism, inequality, and injustice in the Houston

community and the state of Texas at large. Part of Houston Justice’s mission is to ensure that

Texas residents can exercise their right to vote. In particular, Houston Justice has worked to

provide access to the ballot to eligible voters in the Harris County Jail.

       30.     Houston Justice has several initiatives in support of this goal. First, Houston Justice

and its trained volunteers regularly register voters at the Harris County Jail. As of August 2020,

Houston Justice and its volunteers had registered 2,500 eligible inmates at the Harris County Jail

to vote. Second, Houston Justice provides applications to vote by mail to eligible individuals in

the Harris County Jail and assists those individuals in filling out and returning their applications.

       31.     By prohibiting public officials from authorizing or approving the expenditure of

funds to facilitate a third party’s distribution of applications to vote by mail, S.B. 1 will impede

or frustrate altogether Houston Justice’s work delivering applications to vote by mail to eligible

voters in the Harris County Jail. At the very least, S.B. 1 will force Houston Justice to divert time,

money, and resources from its other activities, such as its advocacy on behalf of police reform and

its community COVID outreach program, to navigating this new barrier to the service it provides

to eligible voters at the Harris County Jail.




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       32.     Plaintiff HOUSTON AREA URBAN LEAGUE (“HAUL”) is a nonpartisan,

nonprofit corporation with its principal office in Houston, Texas. The National Urban League, of

which HAUL is an affiliate, is the nation’s oldest and largest community-based movement devoted

to empowering African Americans to enter the economic and social mainstream. Today, the

National Urban League, headquartered in New York City, spearheads the non-partisan efforts of

its local affiliates. HAUL was organized in June of 1968 as a nonprofit 501(c)(3) agency. HAUL

advocates for and provides social services to disadvantaged people of all races, gender, age groups

and or disabilities. HAUL works to achieve economic and social justice for its constituents by

providing community voter/political participation education and supporting and offering third

party voter registration, including through its two auxiliary, age-specific, volunteer groups.

       33.     Through its president, contract employees, and clients, HAUL engages in voter

registration, voter education, and other activities and programs aimed at increasing voter turnout

among vulnerable members of the Houston community. These efforts are key to HAUL’s mission

of advocating for and providing social services to disadvantaged people.

       34.     HAUL, through its contract employees and volunteers, as well as its president,

dedicates time and resources to conduct voter engagement and public education so that HAUL’s

clients, namely Black and Latino voters, veterans, and people with disabilities, can have a voice

in the political process. HAUL provides community members in the Houston area with training

on voter registration and voting opportunities, and, through its contractors and volunteers,

provides or helps provide voter assistance and voter registration, such as by delivering applications

to vote by mail to HAUL clients. This has included responding to the voting needs of its

membership during the COVID-19 pandemic, which has disproportionately affected Black

Texans.




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       35.    S.B. 1 will hinder HAUL’s ability to enable its Black and Latino membership base,

and vulnerable residents of Houston more broadly, to vote. In light of S.B. 1’s significantly more

burdensome vote by mail requirements, prohibition on drive-thru voting, limited early voting and

curbside voting, lack of ready access to vote by mail applications, and presence of newly

empowered poll workers and poll challengers, HAUL will be forced to divert time and resources

from the other critical social services it provides to disadvantaged persons in Houston to ensuring

their clients— HAUL’s constituents, including Black and Latino voters, voters with disabilities,

constituents of its two auxiliary age-based volunteer groups, and veterans who disproportionately

used these means and methods of voting employed in the 2020 elections—are able to vote in

upcoming elections without being subjected to civil and criminal offenses and penalties. This will

require HAUL to retrain and educate their large constituencies on the new voting restrictions,

procedures, and violations so their constituents are able to cast a ballot that will count, without

any repercussions. Additionally, HAUL will have to increase its Get Out The Vote (“GOTV”)

work to respond to the lack of means and methods to vote resulting from the passage of S.B. 1.

       36.    Plaintiff DELTA SIGMA THETA SORORITY, INC. (“Delta Sigma Theta” or “the

Deltas”) is a national, nonpartisan, not-for-profit membership service organization, comprised

predominately of Black women that was founded in 1913 on the campus of Howard University

and incorporated under the laws of the District of Columbia. Six weeks after the organization was

initially formed in 1913, several of its founding members marched in the historic Suffragist March

under the Delta Sigma Theta Sorority, Inc. banner—the Deltas’ first public act. The Deltas

members participating in the march took on personal risk and indignity, as they were not

welcomed by some white suffragists, who insisted that the Black women march at the end of the

procession.




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       37.     Civic engagement has remained a core tenet of the Deltas’ mission since its

founding, as democracy and justice can only be achieved through voting. Thus, voter registration

and voter education programs, as well as combatting voter suppression, are some of the

organization’s top social action priorities. In light of the upcoming post-Census redistricting cycle,

the Deltas have and will continue to provide public education and training about the importance

of the decennial Census and its impact on redistricting, the allocation of funding, and policy-

making. The organization has 75 chapters that include alumnae and college chapters and

approximately 20,445 members in Texas, most of whom are registered voters in Texas.

       38.     Since its inception, Delta Sigma Theta has organized Delta Days in Washington,

D.C. as an opportunity for members of Delta Sigma Theta Sorority, Inc. to participate in the

nation’s public policy-making process. This annual conference includes legislative briefings, issue

forums and advocacy skills development. Featured speakers include key policy makers, members

of the United States Congress, Congressional staff members and national issue experts. The 32nd

Annual event was held in 2021. Delta Sigma Theta had more than 380 sorors from Texas who

registered and participated in the virtual event. For the 2021 Delta Days, Delta Sigma Theta’s

2021 legislative priorities included seeking the support of U.S. Senator Cruz and U.S. Senator

Cornyn for H.R. 1 and the John Lewis Voting Rights Act. In past years, more than 150 members

from Texas have gone to Washington, D.C. to engage with members of Congress on voting issues,

including increasing voter access and eliminating voter suppression.

       39.     The Houston Alumnae chapter of Delta Sigma Theta has, in the last four years,

registered over 1800 voters, trained around 100 Voter Deputy Registrars, provided caravans to the

polls at general, special, and runoff elections, educated the public on vote-by-mail options, and

supported state legislation that would create county-wide polling places, among other voting




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related work. The North Harris County Alumnae chapter also conducts high school voter

registration drives, trains Volunteer Deputy Voter Registrars, and partners with the League of

Women Voters to conduct registration drives.

       40.     The Dallas Alumnae Chapter organizes Delta Days for the City of Dallas and for

the State of Texas to allow alumnae to work with public officials to ensure all voters, but

particularly women and voters of color, are able to participate in the political process and elect

representatives of their choice. The Dallas Alumnae Chapter also registers hundreds of students

and others across the Dallas area, and provides voter education and training. The Fort Worth

Alumnae Chapter has held numerous voter registration drives at locations accessible and

convenient to voters of color, as well as conducted candidate forums for political office and virtual

forums on preparedness to vote.

       41.     The Austin Alumnae chapter of Delta Sigma Theta has presented information to

nursing homes and senior living facilities on absentee voting, registered voters there and assisted

these voters with changing their addresses. The Chapter also held curbside voter registration in

East and North Austin, conducts Voter Deputy Registrar training, regularly registers voters on

holidays like Martin Luther King, Jr. Day, and has participated in campaigns alongside the League

of Women Voters to register eligible high school students who would-be first-time voters in

Austin, Manor, Pflugerville and Round Rock independent school districts

       42.     With the enactment of S.B. 1, the right to vote of the organization’s members across

Texas will be severely burdened or outright denied. By severely restricting the ability of third

parties to distribute or “solicit” vote by mail ballot applications, limiting early voting, eliminating

drive-thru voting, burdening individuals who provide assistance to other voters and curbside

voting S.B. 1 makes it substantially more difficult for the Deltas to engage in their civic




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engagement mission. These burdens will force the Deltas, both nationally and particularly their

chapters in Harris, Bexar, Travis and Dallas counties, to divert time, money, and resources from

other activities, such as their voter registration and voter education efforts, including related to the

post-Census redistricting cycle, to assist Texas sorors in providing public education regarding the

changes in voting law and procedure, and responding to how these changes in law will affect their

members’ ability to engage in voter registration and voter assistance.

       43.     Plaintiff THE ARC OF TEXAS has promoted, protected, and advocated for the

human rights and self-determination of Texans with intellectual and developmental disabilities

(“IDD”) since its founding in 1953. The Arc of Texas is a statewide advocacy and membership

organization—with 6,000 individual members and 27 local member chapters throughout the

state—that supports and advocates for these rights on behalf of the IDD community. The Arc of

Texas works with and alongside individuals with IDD and their families to identify barriers and

solutions to inclusive education, competitive integrated employment, quality community-based

services and supports, and access to civil rights and justice. Both chapter and individual members

of The Arc of Texas inform the organization’s policies.

       44.     The Arc of Texas provides support and training so that members can speak out for

their rights in advocacy with state agencies and with the Texas Legislature. The Arc of Texas has

been instrumental in the creation of virtually every program, service, right, and benefit that is now

available to more than half a million Texans with IDD. Today, The Arc of Texas continues to

advocate for including people with intellectual and developmental disabilities in all aspects of

society.

       45.     Voting rights has always been a central priority in advocacy work of The Arc of

Texas. In partnership with other state and local disability groups, The Arc of Texas has




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participated in Register, Educate, Vote—Use your Power (“REV UP”) Texas program, a statewide

volunteer coalition of advocacy organizations seeking to foster civic engagement and protect the

voting rights of Texans with disabilities. The Arc of Texas helped organize and participated in

multiple disability forums with candidates. In 2020, The Arc of Texas provided trainings and

social media outreach to its members and the general public on how to register to vote, learn how

to access disability accommodations when voting, how to receive assistance when voting, and

how to access the election protection hotline. Many local affiliates, member chapters of The Arc

of Texas, directly assisted people with disabilities in registering to vote, educating their members

on where and how to vote, and providing transportation to polling places and other assistance. The

Arc has historically volunteered as deputy voter registrars and hosted a press conference to kick

off voter registration month.

       46.     In 2021, The Arc of Texas worked to remove or amend provisions in prior iterations

of S.B. 1 that are harmful to the disability community. The Arc of Texas has sent out multiple

action alerts to its constituents urging them to oppose S.B. 1, its prior iterations, and other voting

legislation suppressing the disability vote. The Arc of Texas has engaged in other public education

and outreach to inform its members of the ways in which the law would deny equal access to the

disability community, and met with legislative offices to share these concerns. Though The Arc

of Texas submitted written testimony in opposition to the bills, several constituents of The Arc of

Texas sought to testify in opposition to these bills, but were unable to do so given that the Texas

legislature did not allow for remote testimony during COVID-19 (further disadvantaging the

disability community who are at higher risk of contracting and experiencing fatal complications

from the virus). Neither H.B. 6 nor S.B. 7 had second hearings in the opposite chamber of origin,




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creating further complication for the disability community or members of the public to testify

about how the bills would impact them.

       47.     During the special session, a member of The Arc of Texas who lives with paralysis,

Courtney Pugh, provided virtual testimony before the House in opposition to S.B. 1. The Senate

would not allow her to testify virtually as a disability accommodation, but her written testimony

was read on the Senate floor during Senator Alvaro’s filibuster. The Arc of Texas Manager of

Public Policy and Advocacy, Alex Cogan, also provided testimony in opposition to the bill before

the Senate.

       48.     In 2019, The Arc of Texas worked to successfully oppose S.B. 9—another bill

restricting the voting rights of people with disabilities—and several members testified in

opposition to the bill at that time.

       49.     The voting rights of people with disabilities remains a central priority for The Arc

of Texas. Voter education is included in every training The Arc of Texas does, regardless of the

topic, and voting is the core of public policy and advocacy, therefore, voting rights are intertwined

with all of the organization’s advocacy efforts.

       50.     By imposing barriers to early voting and receiving assistance with voting, S.B. 1

will deny access to and interfere with the right to vote for many members of The Arc of Texas

and the voters that it supports.

       51.     Moreover, S.B. 1 makes it substantially more difficult for The Arc of Texas to carry

out its civic engagement mission. In order to combat the suppressive effect of S.B. 1, including

informing itself about S.B. 1 and its scope to be able to assist people with disabilities to comply

with the many changes; helping people with disabilities to better understand the changes; and

developing new, costly training materials and public education documents to educate people with




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disabilities about the changes, The Arc of Texas will have to expend more time, money, and

resources on its efforts to educate and assist voters as described above. These burdens will force

The Arc of Texas to divert resources from its other core activities described above. As a result,

due to S.B. 1, The Arc of Texas is limited, and will continue to be limited, in the resources that it

can devote to its other core organizational goals.

       52.     Plaintiff JEFFREY LAMAR CLEMMONS is a resident of Austin, Texas, and a

senior at Huston-Tillotson University. He serves as president of the Huston-Tillotson University’s

NAACP. Plaintiff Clemmons also serves as Chair of the Austin College Student Commission.

Plaintiff Clemmons served as an election judge in Travis County for the July 14, 2020 primary

election in Texas. Plaintiff Clemmons received training as an election judge on July 9, 2020. He

was assigned to the polling location at the Turner Roberts Recreation Center, where he served

throughout the day of July 14, 2020. On April 1, 2021, Plaintiff Clemmons testified in opposition

to H.B. 6 during the regular legislative session, explaining that if passed, he would have grave

concerns about continuing to serve as an election judge in future elections, because he could face

criminal penalties for simply doing his job. As a community activist and a dedicated member of

the NAACP, Plaintiff Clemmons wants to continue to serve as an election judge in upcoming

elections. With the passage of S.B. 1, Plaintiff Clemmons could face devastating criminal

penalties from fulfilling his responsibilities as an election judge.

       53.     Defendant, GREGORY WAYNE ABBOTT, is sued in his official capacity as the

Governor of Texas, and pursuant to Article IV, Section I of the Texas Constitution, is the chief

executive officer of the State of Texas.

       54.     Defendant JOSE ESPARZA, is sued in his official capacity as the Deputy Secretary

of State of Texas, and because the Office of the Secretary of State is currently vacant, Defendant




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Esparza, pursuant to Texas Election Code § 31.001(a), is the chief election officer of the State. In

this capacity, Defendant Esparza is responsible for the administration and implementation of

election laws in Texas, including “ensuring the uniform application and interpretation of election

laws throughout Texas.” Tex. Elec. Code § 31.001(a). Defendant Esparza must issue guidance

to the county registrars of all 254 Texas counties on various election statutes and procedures.

       55.    Defendant WARREN KENNETH PAXTON, JR., is sued in his official capacity as

the Attorney General of Texas. In this capacity, Defendant Paxton has statutory authority to

investigate and prosecute election offenses statewide. Tex. Elec. Code §§ 273.001, 273.021.

       56.    Defendant JACQUE CALLANEN, is sued in her official capacity as Elections

Administrator of Bexar County.        In this capacity, Defendant Callanen is responsible for

implementing the Texas Election Code at the direction of the Texas Secretary of State.

       57.    Defendant ISABEL LONGORIA, in her official capacity as Elections

Administrator of Harris County.       In this capacity, Defendant Longoria is responsible for

implementing the Texas Election Code at the direction of the Texas Secretary of State.

                                 FACTUAL ALLEGATIONS

   A. Texas has a Long-Standing, Judicially-Recognized History of Official Discrimination
      in Voting.
       58.    S.B. 1 is the latest entry in Texas’s pervasive and judicially-recognized record of

racially discriminatory voting practices, which date back to the “early days of Texas.” Veasey v.

Perry, 71 F. Supp. 3d 627, 633 (S.D. Tex. 2014). In 2014, a federal court found that Texas has a

“history of impairments that have plagued the right to vote,” including “racially discriminatory

motivations and [] burdensome qualifications.” Id. According to the court, “[t]his uncontroverted

and shameful history was perhaps summed up best by” longtime civil rights advocate Reverend

Peter Johnson, who said “‘[t]hey had no civil rights towns or cities in the State of Texas because



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of the brutal, violent intimidation and terrorism that still exists in the State of Texas; not as overt

as it was yesterday. But east Texas is Mississippi 40 years ago.’” Id.

       59.     Texas’s Black and Latino voters have historically been disenfranchised through a

variety of discriminatory voting-related laws, including all-white primaries, literacy tests, poll

taxes, voter-purging, and racially discriminatory districting. Id. at 633-37.

       60.     Texas’s use of intentionally discriminatory voting schemes has repeatedly required

federal intervention. See, e.g., Veasey v. Abbott, 249 F. Supp. 3d 868, 876 (S.D. Tex. 2017)

(holding that Texas enacted photo-ID law with a discriminatory purpose); League of United Latin

Am. Citizens v. Perry, 548 U.S. 399, 440 (2006) (noting state’s redistricting plan bore the “mark

of intentional discrimination that could give rise to an equal protection violation”); Texas v. United

States, 887 F. Supp. 2d 133, 159, 166 (D.D.C. 2012), vacated and remanded in light of Shelby

County v. Holder, 570 U.S. 529 (2013) (finding Texas enacted redistricting plans with

discriminatory purpose); White v. Regester, 412 U.S. 755 (1973) (invalidating multimember

electoral districts in Dallas and Bexar Counties based on findings that the reapportionment plans

effectively removed Black and Mexican-American voters from the political processes in these

counties); Terry v. Adams, 345 U.S. 461 (1953) (holding that Texas county’s private primary

deprived Black petitioners of their right to vote based on race and color and therefore violated the

Fifteenth Amendment); Smith v. Allwright, 321 U.S. 649 (1944) (invalidating Democratic Party’s

exclusion of minorities from primary elections); Nixon v. Herndon, 273 U.S. 536 (1927)

(invalidating on Fourteenth Amendment grounds state law excluding Black citizens from voting

in primary elections). Texas has remained undeterred, however, often enacting new exclusionary

restrictions on the heels of federal intervention.




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       61.     The examples set forth below are a sampling of Texas’s pervasive and invidious

race-based voter suppression including tactics such as poll taxes, voter purges, white primaries,

literacy tests, efforts to disenfranchise students, and racially discriminatory districting. These

tactics draw a clear line of continuing discrimination beginning in the early 20th century and

continuing through the present day. This widespread and pervasive discrimination has infected

the process at both the state and local level.

       62.     Poll Tax and Voter Purges. In 1902, Texas adopted a poll tax that required would-

be voters to pay $1.50 in order to vote. The poll tax remained in effect as to federal elections until

1964, when the 24th Amendment to the United States Constitution banned the practice. The poll

tax remained in effect as to state elections until 1966, when the practice was held unconstitutional.

See Veasey, 71 F. Supp. 3d at 634; United States v. State of Tex., 252 F. Supp. 234, 255 (W.D.

Tex. 1966) (holding poll tax for elections involving only state issues and campaigns

unconstitutional as disenfranchising Black voters), aff’d sub nom. Texas v. United States, 384 U.S.

155 (1966); Harper v. Virginia State Bd. of Elections, 383 U.S. 663, 666 (1966) (extending the

ban on poll taxes to state elections).

       63.     In response to having its poll tax declared unconstitutional, Texas amended its

constitution to require voters to register annually during a four-month period ending January 31

of each election year. The law was described as a “direct descendant of the poll tax” and was held

unconstitutional. Beare v. Smith, 321 F. Supp. 1100 (S.D. Tex. 1971).

       64.     Texas then enacted a “purge law,” requiring all voters in the state to reregister. The

Department of Justice objected to the law pursuant to section 5 of the Voting Rights Act and the

law was enjoined by a three-judge court. Veasey, 71 F. Supp. 3d at 635.




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       65.     All-White Primaries. In 1923, Texas enacted a law excluding Black voters from

participating in Democratic Party primary elections. Because of the political dominance of the

Democratic Party in Texas at that time, the law excluded Black voters from the only election that

mattered, essentially disenfranchising them. In striking down the law, the Supreme Court of the

United States said it would be “hard to imagine a more direct and obvious infringement of the

Fourteenth” Amendment. Nixon v. Herndon, 273 U.S. 536, 541 (1927).

       66.     The same year that the all-white primary law was struck down, Texas enacted a law

allowing political parties to determine voter qualifications for their primaries. The Democratic

Party adopted a rule limiting participation to white citizens. The Supreme Court held this practice

unconstitutional in 1944. Smith v. Allwright, 321 U.S. 649 (1944); see also Terry v. Adams, 345

U.S. 461, 469 (1953) (invalidating scheme in which Texas county adopted results of all-white

primary).

       67.     Literacy Tests. For much of the 20th century, Texas law prohibited providing

assistance to illiterate voters in marking or preparing their ballots. The practice disproportionately

excluded Mexican-American and Black voters from political participation. The practice was held

to violate the Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution in 1970. Garza v. Smith, 320 F. Supp. 131, 135, 138 (W.D. Tex. 1970), vacated and

remanded on procedural grounds, 401 U.S. 1006 (1971).

       68.     Efforts to Disenfranchise Black Students. From the ratification of the 26th

Amendment in 1971, which lowered the voting age from 21 to 18, until 2008, Waller County,

Texas enacted restrictive voting rules and threatened students with baseless prosecutions in an

effort to disenfranchise students of the historically Black Prairie View A&M University. Veasey,

71 F. Supp. 3d at 635. In 2004, for example, the Waller County District Attorney threatened to




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arrest student voters based upon the false allegation that students could not legally vote using their

university addresses.23

          69.    Racially Discriminatory Districting. In every redistricting cycle from 1970 to

2010, Texas adopted racially discriminatory districts meant to disadvantage Black and Mexican-

American voters, in violation of the Voting Rights Act. Veasey, 71 F. Supp. 3d at 636 & n.23

(collecting cases).

          70.    Beginning in 1975, when Congress expanded the Voting Rights Act of 1965 (VRA)

to cover jurisdictions in which persons speaking Asian, American Indian, Alaska Native, and

Spanish languages made up more than five percent of the voting age population, but in which less

than 50 percent of eligible voters had registered to vote or voted in the 1972 election, Texas was

a covered jurisdiction under the VRA, meaning it was required to obtain federal approval or

preclearance to make changes to any of its voting related laws and procedures. Congress found

that the expansion was necessary in part to address Texas’s extensive record of restrictive

measures geared toward excluding Black and Latino citizens from the political process.24

          71.    Between 1975 and 1982, the Department of Justice lodged more objections to

voting changes in Texas than in any other state. Seamon v. Upham, 536 F. Supp. 931, 989 (E.D.

Tex. 1982), vacated on other grounds, 456 U.S. 37 (1982); see also Veasey v. Abbott, 830 F.3d

216, 240 & n.29 (5th Cir. 2016).




23
  Terry Kliewer, Waller County DA apologizes in vote flap, Hous. Chron., Feb. 25, 2004, at A1,
available at http://www.chron.com/news/houstontexas/article/Waller-County-DA-apologizes-in-
vote-flap-1957246.php.
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     Legislative History of the Voting Rights Act Amendments of 1975, P.L. 94-73 at 25-30 (1975).



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         72.   Between the 1982 and the 2006 reauthorizations of the VRA, Texas had the second-

highest number of objections interposed by the Department of Justice under Section 5 of the VRA,

including at least 107 objections, 10 of which were for statewide voting changes.25

         73.   In 2013, the Supreme Court in Shelby County v. Holder invalidated § 4 of the VRA,

which set forth the coverage formula provision that determined which jurisdictions were subject

to the VRA’s preclearance requirement. 570 U.S. 529. Within hours of the Shelby County

decision, Texas began to enforce a photo ID law that it passed in 2011 but that had been denied

preclearance under the VRA. The photo ID law was the strictest in the country, requiring that

voters present either a state-issued photo ID or a photo ID from a limited list of acceptable sources.

See Veasey, 71 F. Supp. 3d at 642-45. Texas opted to enforce this law, despite the fact that the

U.S. District Court for the District of Columbia had found that the law would likely have a

retrogressive effect on “the position of racial minorities with respect to their effective exercise of

the electoral franchise.” Texas v. Holder, 888 F. Supp. 2d 113, 115 (D.D.C. 2012), vacated and

remanded in light of Shelby County, 570 U.S. 928 (2013). The photo ID law was later held to

violate Section 2 of the Voting Rights Act. See Veasey v. Abbott, 249 F. Supp. 3d 868 (S.D. Tex.

2017).

         74.   At odds with Texas’s exploding population growth, between 2012 and 2018, Texas

closed 750 polling locations. It was no accident that the closures were concentrated in counties

experiencing rapid Black and Latino population growth: “the 50 counties that gained the most



25
  Reauthorization of the Voting Rights Act: Policy Perspectives and View from the Field Before
the U.S. S. Judiciary Subcomm. on the Const., C.R., and Prop. Rts., 109th Cong. 2 (2006)
(Statement of Debo Adegbile, Associate Director of Litigation, NAACP Legal Defense and
Educational Fund, Inc.), at https://www.naacpldf.org/wp-content/uploads/VRA-Adegbile-Senate-
Testimony.pdf.



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Black and Latinx residents between 2012 and 2018 closed 542 polling sites, compared to just 34

closures in the 50 counties that have gained the fewest black and Latinx residents. This is despite

the fact that the population in the former group of counties has risen by 2.5 million people, whereas

in the latter category the total population has fallen by over 13,000.”26

       75.     In early 2019, after historic turnout among Latino voters in Texas in the 2018

midterm election,27 the Texas Secretary of State issued Election Advisory No. 2019-02, which

threatened to purge approximately 98,000 voters from the voter rolls on the basis that they might

not be U.S. citizens. The Advisory was based on outdated information, was inaccurate as to the

vast majority of individuals it proposed to purge, and was enjoined by a federal court.28 See Texas

LULAC v. Whitley, 2019 WL 7938511 (W.D. Tex. Feb. 27, 2019).

       76.     This   effort   to   target   and    disenfranchise   newly    naturalized    citizens

disproportionately impacted individuals of Mexican origin, who make up a large share of newly

naturalized U.S. citizens who reside in Texas.29




26
  Richard Salame, Texas closes hundreds of polling sites, making it harder for minorities to vote,
The    Guardian    (Mar.     2,    2020,    6:00      AM),     https://www.theguardian.com/us-
news/2020/mar/02/texas-polling-sites-closures-voting.
27
   Suzanne Gamboa & Nicole Acevedo, Youth, Latino mobilization paid off in the midterms. Now
groups gear up for 2020., NBC News (Nov. 12, 2018, 3:30 PM),
https://www.nbcnews.com/news/latino/youth-latino-mobilization-paid-midterms-now-groups-
gear-2020-n934516.
28
   Settlement Agreement, Tex. League of United Latin American Citizens v. Whitley, No. SA-19-
CA-074-FB,                            (W.D.                      Tex.),                     at
https://static.texastribune.org/media/files/411cff760b0b2b79a159b2390ef3f939/Voter_rolls_settl
ement_agreement.pdf?_ga=2.52669679.637990502.1618250800-1075633374.1617978724.
29
  Letter from Mark P. Gaber, Director, Trial Litigation, Campaign Legal Center, and Danielle M.
Lang, Co-Director, Voting Rights and Redistricting, Campaign Legal Center to David Whitley,
Secretary of State (Feb. 1, 2019), https://campaignlegal.org/sites/default/files/2019-
02/D.%20Whitley%202.1.19.pdf.



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         77.   In concert with this effort to purge the voter rolls, Attorney General Paxton falsely

claimed that there was widespread voter fraud perpetrated by non-citizen residents of Texas in the

2018 midterms.     On January 25, 2019, Paxton tweeted: “VOTER FRAUD ALERT: The

@TXsecofstate discovered approx 95,000 individuals identified by DPS as non-U.S. citizens have

a matching voter registration record in TX, approx 58,000 of whom have voted in TX elections.

Any illegal vote deprives Americans of their voice.”30       Governor Abbott praised Paxton for

“uncovering and investigating” this illegal voter registration. In reality, only 80 of the 98,000

voters on the purge list were ineligible to vote. See Texas LULAC v. Whitley, 2019 WL 7938511

at *1.

         78.   Throughout its history of racially discriminatory voting practices, Texas has often

relied on the purported justification that its exclusionary measures are necessary to combat voter

fraud, creating a “clear and disturbing pattern of discrimination in the name of combatting voter

fraud in Texas.” Veasey, 71 F. Supp. 3d at 636 & n.24.

     B. The Extent to Which Black and Latino Voters Bear the Effects of Discrimination in
        Education, Employment, and Health
         79.   Texas’s history of racial discrimination transcends the political process and infects

all aspects of public and private life for Black and Latino voters in the state. As a federal court

recently found, Texan “African–Americans and Latinos are less educated because of

discrimination, suffer poorer health because of discrimination, are less successful in employment

because of discrimination, and are likewise impoverished in greater numbers because of

discrimination.” Veasey, 71 F. Supp. 3d at 667.


30
   Alexa Ura, "Someone did not do their due diligence": How an attempt to review Texas' voter
rolls turned into a debacle, Texas Tribune (Feb. 1, 2019, 10:00 AM),
https://www.texastribune.org/2019/02/01/texas-citizenship-voter-roll-review-how-it-turned-
boondoggle/.



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       80.    Beginning with the 1876 Texas Constitution, which explicitly required separate

schools for Black and white students, and continuing through much of the 20th century, Texas law

mandated a segregated school system.31 Even after the Supreme Court held that segregated

schools were unlawful, Texas continued to maintain a system of segregation in education. In 1970,

a federal court found that Texas had failed to comply with the mandate of Brown v. Board of

Education, 347 U.S. 483 (1954), by its continued maintenance of nine all-black school districts

with “inferior educational facilities and personnel.”32 United States v. Texas, 321 F. Supp. 1043,

1048 (E.D. Tex. 1970). The court placed the entire state under a desegregation order. Today,

twenty-nine districts remain under open desegregation orders. Educational achievement gaps

continue to plague Texas, attributable at least in part to continued discriminatory treatment of

Black and Latino students in public education. See Veasey, 71 F. Supp. 3d at 666. In 2017-2018,

Texas’s high school graduation rate was 94% among white Texans, but only 87% among Black

Texans.33

       81.    Black and Latino people in Texas are “substantially more likely than Anglos to live

in poverty throughout Texas because they continue to bear the socioeconomic effects caused by

decades of discrimination.” Veasey, 71 F. Supp. 3d at 665. The poverty rate among white Texans

is 7.9%, while the rate for Black and Latino Texans is 18.4% and 18.7%, respectively.34



31
  Nina Perales, Luis Figueroa, and Criselda G. Rivas, Voting Rights in Texas 1982-2006, at 10-13
(June 2006) http://www.maldef.org/wp-content/uploads/2019/01/texasvra.pdf.
32
 Yue Qiu and Nikole Hannah-Jones, A National Survey of School Desegregation Orders,
ProPublica (Dec. 23, 2014), https://projects.propublica.org/graphics/desegregation-orders.
33
  National Center for Education Statistics, Public High School Graduation Rates (updated May
2021), https://nces.ed.gov/programs/coe/indicator_coi.asp.
34
  KFF, Poverty Rate By Race/Ethnicity (2019), https://www.kff.org/other/state-indicator/poverty-
rate-by-



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       82.     “The harmful effects of discrimination can also be seen in the field of health.”

Veasey, 71 F. Supp. 3d at 666.35 The global COVID-19 pandemic has very recently laid bare the

unequal access to healthcare and the disparate health outcomes that Black and Latino Texans face-

-and the enhanced danger that a pandemic poses to Black and Latino Texans. Less than two years

before the COVID-19 pandemic hit Texas, Texas’s Office of Minority Health Statistics and

Engagement, which focused on disparities in health care, closed after being defunded by the

legislature.36 Between March and October of 2020, Latino and Black Texans had the highest

COVID-19 death rates per 100,000. Latino Texans were hit particularly hard, comprising 40%37

of the state’s population, but 58% of COVID-19 deaths during that period. Life-saving COVID-

19 vaccines are less available to Black and Latino Texans, who live farther away from vaccine




raceethnicity/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Location%22,%22sort
%22:%22asc%22%7D.
35
    KFF, Adults Who Report Fair or Poor Health Status by Race/Ethnicity (2019),
https://www.kff.org/other/state-indicator/percent-of-adults-reporting-fair-or-poor-health-status-
by-
raceethnicity/?currentTimeframe=0&selectedRows=%7B%22states%22:%7B%22texas%22:%7
B%7D%7D%7D&sortModel=%7B%22colId%22:%22Location%22,%22sort%22:%22asc%22%
7D;      KFF,     Uninsured       Rates     for    the      Nonelderly      by     Race/Ethnicity,
https://www.kff.org/uninsured/state-indicator/nonelderly-uninsured-rate-by-
raceethnicity/?currentTimeframe=0&selectedRows=%7B%22states%22:%7B%22texas%22:%7
B%7D%7D%7D&sortModel=%7B%22colId%22:%22Location%22,%22sort%22:%22asc%22%
7D
36
  Erin Cargile, Lawmakers defunded an office that could be helping Texas minorities in the fight
against COVID-19, KXAN (Nov. 18, 2020), https://www.kxan.com/investigations/lawmakers-
defunded-an-office-that-could-be-helping-texas-minorities-in-the-fight-against-covid-19/.
37
   Texas Health and Human Services Commission, Impact of COVID-19 on Vulnerable
Populations            in            Texas,          at          25          (Jan.         2021),
https://hhs.texas.gov/sites/default/files/documents/services/health/coronavirus-covid-19/impact-
covid-19-vulnerable-populations-texas.pdf.



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providers like hospitals and pharmacies.38 According to state data, white Texans are receiving the

COVID-19 vaccine at twice the rate of Latino Texans and six times the rate of Black Texans.39

When Dallas County tried to rectify this disparity and prioritize vaccine allocation to people of

color, the state threatened to withhold vaccines from the County.40

           83.   The effect of this historic discrimination is to hinder Black and Latino Texans’

ability to participate in the political process, which will only be exacerbated by the proposed

voting changes in S.B. 1. Black and Latino Texans are more likely to have inflexible job

schedules,41 lack adequate childcare, lack access to transportation,42 and have disproportionate

health outcomes, meaning that they disproportionately suffer from longer lines at the polls and

reduced opportunities to vote outside of normal business hours. Disproportionate poverty rates

also mean that Black and Latino Texans are less likely to have ready access to the tools required–

–i.e., computers and printers—to download and submit applications for mail-in ballots.

      C. Racially Polarized Voting in Texas
           84.   Following the last round of redistricting, during litigation in 2014, the state of Texas

admitted there was racially polarized voting in 252 of 254 counties in the state. Veasey, 71 F.



38
  Marisa Martinez and Sami Sparber, As Texas expands COVID-19 vaccination eligibility, racial
disparities persist among Black, Hispanic residents, Texas Tribune (Mar. 19, 2021),
https://www.texastribune.org/2021/03/19/texas-vaccine-race-disparities/.
39
     Id.
40
   Emma Platoff and Juan Pablo Garnham, Dallas County axes plan to prioritize vaccinating
communities of color after state threatens to slash allocation, Texas Tribune (Jan. 20, 2021),
https://www.texastribune.org/2021/01/20/dallas-vaccine-plan-communities-of-color/.
41
  See, e.g., Veasey, 71 F. Supp. 3d at 664 (lower income Texans are less likely to have access to
paid leave).
42
   Id. at 665 (Black and Latino Texans significantly more likely to lack vehicles for their own
transportation); see also City of San Antonio, Status of Poverty in San Antonio,
https://www.sanantonio.gov/Portals/0/Files/HumanServices/FaithBased/2019PovertyReport.pdf
at 24 (noting same trend within San Antonio).


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Supp. 3d at 637-38 (“Racially polarized voting exists when the race or ethnicity of a voter

correlates with the voter’s candidate preference.”).      The U.S. Supreme Court has likewise

confirmed the presence of racially polarized voting in Texas on multiple occasions throughout the

last decade. See id.

        85.     According to the American Community Survey’s 2019 5-Year Estimates, the state

of Texas is currently 42.1% white, 11.8% Black and 39.3% Latino.

        86.     Racially polarized voting in Texas continues to exist today. The presence of

racially polarized voting is also relevant to this court’s analysis of the known impact of S.B. 1,

which seeks to curb voter participation in counties where a majority of the voters voted for the

Democratic candidate for office and whose populations were disproportionately Black and Latino.

     D. Voters with disabilities
        87.    Voters with disabilities, including Black and Latino voters with disabilities, have

also persistently experienced barriers in accessing their right to vote in Texas.43 Barriers include

Governor Abbott’s proclamation in 2020 (during the COVID-19 pandemic) ordering counties to

limit ballot drop-off locations to one per county, disproportionately impacting voters with

disabilities who already faced significant obstacles to voting and are particularly vulnerable to

COVID-19.44 Other common problems for voters with disabilities include accessing curbside




43
   Maggie Astor, G.O.P Bills Rattle Disabled Voters: ‘We Don’t Have a Voice Anymore,’ the New
York Times (June 14, 2021), https://www.nytimes.com/2021/06/14/us/politics/disability-voting-
rights.html; Alexa Ura, Texans with disabilities fear voting will get harder for them as special
session on GOP restrictions nears, the Texas Tribune (July 5, 2021)
https://www.texastribune.org/2021/07/05/texas-voting-disability/; Trinady Joslin, For nearly 3
million disabled Texans, voting this year is even harder, the Texas Tribune, (Oct. 30, 2020)
https://www.texastribune.org/2020/10/30/texas-voting-disability/.
44
  Trinady Joslin, For nearly 3 million disabled Texans, voting this year is even harder, the Texas
Tribune, (Oct. 30, 2020) https://www.texastribune.org/2020/10/30/texas-voting-disability/.



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voting, barriers in reading or seeing the ballot, requiring assistance in filling out the ballot,

understanding how to vote or use the voting equipment, long lines at polling places, and finding

or getting to the polling place.45 The inaccessibility of county election websites also imposes

barriers on the ability of voters with disabilities to access their fundamental right to vote.46 A 2020

report on the turnout of voters with disabilities notes that voter turnout among disabled voters in

Texas was 59.4% versus 64.5% of voters without disabilities. 47

          88.     In 2020, about one in nine voters with disabilities nationally encountered

difficulties voting. This is double the rate of people without disabilities. Nationwide, people with

disabilities voted at a 7% lower rate than people without disabilities of the same age.48 It is well

established that “[c]itizens with disabilities are less likely to vote than their non-disabled peers,

and are more likely to experience difficulties when they do vote.”49 For many voters with




45
   Id.; Lisa Schur, Meera Adya, and Mason Ameri, Accessible Democracy: Reducing Voting
Obstacles for People with Disabilities, 14 Election L. J. 1, 3-4 (2015); Wajiha Rizvi, Curbside
Voting and Disability Access in the 2020 General Election, Texas Civil Rights Project (Jan. 2021)
https://txcivilrights.org/wp-content/uploads/2021/01/Curbside-Voting-Report.pdf.
46
  U.S. Department of Justice, Civil Right Division ADA Title II Complaint, Disability Rights Texas
and      REV      UP        (Sept.      3,      2020)     https://media.disabilityrightstx.org/wp-
content/uploads/2020/09/08211016/20200903-DRTx-DOJ-Complaint-Inaccessible-County-
Election-Websites.pdf.
47
   Lisa Schur and Douglas Kruse, Fact Sheet: Disability and Voter Turnout in the 2020 Elections,
Election       Assistance        Commission        (last     visited   Sept.      1,      2021)
https://smlr.rutgers.edu/sites/default/files/Documents/Centers/Program_Disability_Research/Fact
Sheet_Disability_Voter_Turnout_2020.pdf.
48
   Lisa Schur and Douglas Kruse, Disability and Voting Accessibility in the 2020 Elections: Final
Report on Survey Results Submitted to the Election Assistance Commission, Election Assistance
Commission                           (Feb.                       16,                       2021)
https://www.eac.gov/sites/default/files/voters/Disability_and_voting_accessibility_in_the_2020_
elections_final_report_on_survey_results.pdf.
49
     Schur, supra, note 45, at 1.



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disabilities, these barriers are not just significant and burdensome, but discriminatory, denying

equal access to the electoral process.

     E. The 2020 Elections in Texas
        89.    The 2020 presidential election was safe and secure, and registered Texas voters

overwhelmingly chose to participate. Indeed, on November 12, 2020, the Elections Infrastructure

Government Coordinating Council and Election Infrastructure Sector Coordinating Executive

Committees of the Cybersecurity and Infrastructure Security Agency released a joint statement

that the “November 3rd election was the most secure in American history.”50 Further, on November

30, 2020, former Texas Secretary of State Ruth Hughs issued a statement that “[d]espite the

challenges presented by COVID-19, this election was a resounding success, and turnout among

registered voters was the highest in 28 years as Texans exercised their right to vote.”

        90.    But Texas’s 2020 primary election in March was characterized by extremely long

lines at the polls and limited voting machines, disenfranchising countless voters who simply could

not wait, particularly amid the onset of the deadly COVID-19 pandemic.51 Voters across Harris

County in particular experienced hours long waits to vote, with one voting location in Harris

County requiring voters to wait as long as six hours until after polls closed to cast a ballot.52 The


50
  Cybersecurity & Infrastructure Sec. Agency, Joint Statement from Elections Infrastructure
Government Coordinating Council and Election Infrastructure Sector Coordinating Executive
Committees (2020).
51
  Alexa Ura, Texas Lawmakers to Hold Hearing Into Excessive Super Tuesday Voting Lines, The
Texas Tribune (Mar. 5, 2020), https://www.texastribune.org/2020/03/05/texas-lawmakers-
excessive-voting-lines-primary/.
52
   Matt Harab & Andrew Schneider, Who’s to Blame for Long Lines on Super Tuesday? Depends
on      Who     You     Ask,     Houston       Public      Media     (March    5,    2020),
https://www.houstonpublicmedia.org/articles/news/politics/election-
2020/2020/03/04/362662/local-officals-explain-long-lines-on-super-tuesday/; Jen Rice, TSU
Voters Waited Hours to Cast a Ballot on Super Tuesday. Harris County Says It Won’t Happen
Again,         Houston         Public          Media           (Oct.       30,       2020),



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March primary witnessed an estimated 45% increase in Democratic participation in Harris County

alone, which left these voters in particularly long lines as the political parties held separate

primaries, requiring separate voting booths and ballots within a single polling location. At TSU,

one of several historically Black Universities that serves as a polling location in Harris County,

one voter waited until after 1:00 am to cast a ballot.53

       91.     And across Texas, primary voters faced slowdowns and lines at the polls resulting

from a shortage of voting machines and faulty ballot printers; in at least one instance, a voting site

was shut down temporarily as a result of technical issues with voting equipment. The Secretary

of State’s elections portal, where voters can look up their registrations, also went down on the

morning of the primary as a result of heavy traffic.

       92.     State lawmakers were well aware of these issues.            The Mexican American

Legislative Caucus, the Texas Legislative Black Caucus and the Texas Legislative Study Group,

a nonpartisan caucus, held a joint meeting to speak directly with election officials, experts, and

voters who were affected by long lines and other issues at the polls in March of 2020.54 The issue

was also widely publicized in Texas newspapers and public media.

       93.     In response, the Harris County Clerk and the election administrator of the county,

Chris Hollins, tripled the number of early voting sites, expanded the sites’ hours, offered 24-hour




https://www.houstonpublicmedia.org/articles/news/politics/election-
2020/2020/10/29/384985/voting-problems/.
53
   Jen Rice, TSU Voters Waited Hours to Cast a Ballot on Super Tuesday. Harris County Says It
Won’t      Happen      Again,    Houston       Public      Media     (Oct.     30,    2020),
https://www.houstonpublicmedia.org/articles/news/politics/election-
2020/2020/10/29/384985/voting-problems/
54
  Alexa Ura, Texas Lawmakers to Hold Hearing Into Excessive Super Tuesday Voting Lines, The
Texas Tribune (Mar. 5, 2020), https://www.texastribune.org/2020/03/05/texas-lawmakers-
excessive-voting-lines-primary/.


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early voting, and allowed voters to vote safely from their vehicle using what was called drive-thru

voting.

          94.   Texas offers early voting by personal appearance and by mail. Early voting by

personal appearance is available to any qualified voter. Tex. Election Code § 82.005. Texas law

currently requires a minimum of twelve hours of early voting during the early voting period. Tex.

Election Code § 85.005. Thus, Texas law clearly allows 24-hour voting, because the language of

the statute makes clear that twelve hours is the minimum required number of hours; the law does

not prescribe a maximum and does not dictate which hours of the day an early voting site may be

open. As a result, during the 2020 presidential election, Hollins offered eight 24-hour polling

places in and around Houston.

          95.   Under Texas law, drive thru voting was permissible but had not previously been

used in the state. As discussed by a federal court considering whether ballots cast in a drive-thru

voting center could be counted, the Texas Election Code provides for “temporary branch polling

places” during early voting and authorizes county election officials to use “movable structure[s]”

as polling places, which together allow drive-thru voting. Tex. Elec. Code § 85.062(b).

          96.   On June 15, 2020, Harris County Clerk Chris Hollins announced the S.A.F.E.

Elections Plan, a set of 23 initiatives to ensure that the July and November 2020 elections were

safe, secure, accessible, fair, and efficient. The framework was created not only to respond to the

challenges of administering elections amid the COVID-19 pandemic, but also to ensure voting

was convenient, fair, safe, and more accessible to Harris County voters more broadly. Mr. Hollins’

decision to implement the S.A.F.E. Plan was also informed by Harris County’s experience during

previous elections like the March 2020 presidential primary, when Harris County made national

news because of severely long wait times at polling locations across the county.




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       97.     The S.A.F.E. Plan aimed to make voting more accessible in Harris County by using

data to increase the number and optimize the locations of polling sites, procure sufficient

additional machines from other jurisdictions and provide them with technical support, allocate

voting machines across polling sites based on known traffic patterns and expected turnout,

accurately report wait times across the County during the early voting period and on Election Day,

and provide increased voting hours during the early voting period.

       98.     The Harris County Clerk’s Office used this data analysis to determine the number

and placement of voting machines in Harris County thereby ensuring shorter lines at polling places

across the county in the 2020 general election. Among other increases in safety, awareness, and

convenience, this reduced wait times at the polls and increased voter participation in Harris County

in the November 2020 presidential election.

       99.     The Harris County S.A.F.E. Plan also aimed to make voting more accessible in

Harris County by ensuring the accessibility required by the Americans with Disabilities Act across

county polling sites, by improving curbside voting, and by introducing drive-thru voting.

       100.    Harris County Clerk Chris Hollins worked to implement drive-thru voting in Harris

County because drive-thru voting creates a safe and convenient way for voters to cast a ballot,

especially during the COVID-19 pandemic. Drive-thru voting is more convenient for many voters

than waiting in line at a traditional walk-in polling place, and it is safer and more secure than

traditional in-person voting. People can vote with their children in the car and without being forced

to bring themselves or their kids into a heavily populated polling place. Moreover, voters do not

have to stand up while waiting in line, which is important for voters with disabilities and elderly

voters, and importantly in Houston, voters can wait in line to vote in an air-conditioned vehicle.




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       101.    As implemented in Harris County, drive-thru voting included all the traditional

safety and security protocols of walk-in voting. Indeed, drive-thru voting in Harris County

entailed even more security features than walk-in voting because there was one election worker

assigned to monitor each drive-thru voting machine (e.g., each car and voter), whereas in a

traditional polling place, a few election officials monitor dozens of voting machines.

       102.    During the November 2020 presidential election, as part of the S.A.F.E. Plan,

Harris County offered voting mega centers at Toyota Center, NRG Arena, BBVA Stadium, and

Rice Stadium, among others. These centers were convenient because they allowed dozens of

voters to cast their ballots simultaneously in a socially distanced manner.

       103.    During the November 2020 presidential election, as part of the S.A.F.E. Plan,

Harris County offered eight 24-hour voting locations during the early voting period. 24-hour early

voting was especially important to shift workers and first responders, who often do not maintain

“traditional” working or waking hours.

       104.    Another part of Harris County’s S.A.F.E. Plan involved helping eligible voters

understand and avail themselves of alternative, safe voting methods. Because one of the reasons

under Texas law for allowing a voter to vote by mail is that the voter is over 65 years old, the

Harris County Clerk sent two rounds of vote-by-mail applications to all registered voters in the

county over the age of 65 and who resided in the county who had not already applied to vote by

mail in June and August of 2020, respectively.

       105.    In July 2020, the Harris County Clerk announced he intended to send vote-by-mail

applications to all registered voters in Harris County. The package that was mailed to voters

contained detailed instructions regarding the limited voter eligibility categories that entitle a voter




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to vote by mail under Texas law. It also contained a personalized vote-by-mail application so that

eligible voters could readily apply.

        106.   The Harris County Clerk determined that sending a vote-by-mail application to all

registered voters in the County was important as part of the S.A.F.E. Plan because many voters

qualified for a mail ballot under Texas law, it was undoubtedly the safest way to vote during the

pandemic, and many voters simply did not know they were eligible. Voters qualify as disabled if

they are sick, pregnant, or if voting in person will create a likelihood of injury to the voter’s health.

A voter’s lack of immunity to COVID-19 could be considered along with other health factors to

inform the voter’s own determination of eligibility. Because most voters in Harris County had no

idea that they might qualify to vote by mail as a result of this provision of the law, the Harris

County Clerk determined it was critical to provide voters with the education on their potential

eligibility and ready access to the application.

     F. Texas’s 2021 Legislative Sessions
        107.   In spite of the success of the 2020 general election in Texas, and even though state

officials found no irregularities or fraud in that election,55 the Texas legislature devoted much of

its attention to changing the election laws during the 2021 legislative session and two special

sessions called during 2021.

        108.   During the regular 2021 legislative session, predecessor bills to S.B. 1--S.B. 7 and

a companion bill, House Bill 6 (“H.B. 6”)--were presented to the elections committees in the Texas




55
  See Alison Durkee, Texas Senate Passes GOP-Led Bill that Restricts Voting, Forbes, (Apr. 1,
2021), https://www.forbes.com/sites/alisondurkee/2021/04/01/texas-senate-passes-gop-led-bill-
that-restricts-voting/?sh=48e87c9f3e18.



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House of Representatives and the Texas Senate,56 according to sponsor Senator Bryan Hughes,

for “Texans [to] feel confident that their elections are fair, honest, and open.”57

109.       The House Election Committee was scheduled to hear H.B. 6 for the first time on March

25, 2021. The Texas Senate State Affairs Committee held the first hearing on S.B. 7 on March

26, 2021. Neither the House Elections Committee nor the Senate State Affairs Committee allowed

virtual testimony from the general public, forcing Texans who wanted to testify in support or

opposition to these bills to appear in person at the state capitol, despite the ongoing COVID-19

pandemic.

           110.   As originally drafted, H.B. 6’s stated purpose was “to exercise the legislature’s

constitutional authority under Section 4, Article VI, Texas Constitution, to make all laws

necessary to detect and punish fraud and preserve the purity of the ballot box.”

           111.   On March 25, 2021, the NAACP Legal Defense Fund (“LDF”) (counsel of record

in this action) submitted testimony in opposition to H.B. 6. In that testimony, LDF discussed the

racist origins of the phrase, “preserve the purity of the ballot box.”58

           112.   That phrase first appeared in Article 6, Section 4 of the Texas Constitution, which

was added in 1876 and was responsive to calls by white legislators in the State to ensure the “purity

of the Anglo-Saxon race” by, among other tactics, disenfranchising Black Texans.59 The same


56
  The committee charged with first review of elections related legislation is the House Elections
Committee in the Texas House of Representatives. In the Texas Senate, it is the State Affairs
Committee that has first review of elections legislation.
57
   Alexa Ura, Texas Senate advances bill limiting how and when voters can cast ballots, receive
mail-in    voting     applications,    The       Texas     Tribune,       (Apr.  1,      2021),
https://www.texastribune.org/2021/04/01/texas-voting-restrictions-legislature/.
58
        NAACP LDF, LDF Opposition to House Bill 6 (Mar. 25, 2021),
https://www.naacpldf.org/wp-content/uploads/20210324_LDF-Opposition-TX-H.B.-6-v02.pdf.
59
     Id. at 4.



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year the Texas Constitution was amended to require the Legislature to “preserve the purity of the

ballot box,” over two dozen Black Texans were lynched.60

           113.   On May 7, 2021, when the author of H.B. 6, House Elections Committee Chairman

Briscoe Cain, was confronted by fellow Representative Rafael Anchia regarding the phrase’s

racist history, the Chairman claimed he was not aware of the phrase’s meaning or history.61

           114.   As further explained in LDF’s testimony, preventing voter fraud has long been

used in Texas as a pretext to justify restrictive voting measures and has deep ties to Texas’s history

of racially motivated voter suppression, including (1) all-White primaries; (2) poll taxes; and (3)

re-registration and voter purges.62

           115.   H.B. 6 was characterized by numerous departures from the ordinary legislative

process in Texas as well. Shortly after the initial hearing on H.B. 6 began on March 25, members

of the House Elections Committee questioned Chairman Cain about his bill, Chairman Cain cut

off the chair of the House Criminal Jurisprudence Committee, Nicole Collier, when she attempted

to raise questions about H.B. 6’s likely impact on Black voters, refusing to recognize her because

she was not a member of the Committee. However, it is common practice for legislators who are

not members of a committee to sit in on and participate in hearings for committees.63




60
     Id.
61
   Dave Montgomery & Nick Corasaniti, Exchange Over ’Purity’ of Vote Puts Texas G.O.P.
Firebrand       in      Spotlight,     N.Y.         Times         (May        12,   2021),
https://www.nytimes.com/2021/05/12/us/politics/briscoe-cain-texas-voting-laws.html.
62
     Id.
63
  See Drew Knight, Texas activist groups slam SB 7 and HB 6 as 'voter suppression' bills, CBS8
(April 5, 2021) https://www.cbs8.com/article/news/politics/texas-activist-groups-slam-sb-7-and-
hb-6-as-voter-suppression-bills/269-848e65d3-2575-44a0-93e5-b40860c9bba1.



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           116.   Representative Collier posed several questions to Chairman Cain, including

whether the Chairman asked the Department of Justice or NAACP whether the bill would violate

voter’s rights on account of race, color, or language.64 Cutting off Representative Collier,

Chairman Cain stated that the Committee needed to recess, but failed to specify a time certain for

the Committee to readjourn, a procedure required in the House.65

           117.   Upon returning from lunch, Chairman Cain used the excuse of his own procedural

error—having called for a recess without specifying the time when the committee would return

from that recess—to claim he was being forced to end the hearing before any public testimony

could be heard.66 Almost 200 people from across the State were registered to testify at the hearing

and present at the Texas State Capitol that day, including former Secretary of State Hughs,

Attorney General Paxton, and former Congressman Beto O’Rourke.67

           118.   The hearing on H.B. 6 was rescheduled for April 1, 2021, when the House Elections

Committee conducted a twenty-two-hour hearing during which hundreds testified, continuing

through the night, before adjourning at 6:00 the morning of April 2, 2021.68



64
       April     1     Hearing    on     H.B.    6,    Part    1,   at            1:06.55-1:22.51,
https://tlchouse.granicus.com/MediaPlayer.php?view_id=46&clip_id=20025.
65
  Acacia Coronado, Bungled Hearing Delays GOP Voting Restriction Bill in Texas, AP News
(March 25, 2021), https://apnews.com/article/donald-trump-texas-house-elections-voting-
government-and-politics-d13bb0a173528ab7417f737718447a12.
66
     Id.
67
   Reform Austin Staff, Cain Prematurely Ends HB 6 Hearing, Blocks Collier from Asking
Questions, RA News (Mar. 25, 2021), https://www.reformaustin.org/elections/cain-prematurely-
ends-hb-6-hearing-blocks-collier-from-asking-questions/; Acacia Coronado, Bungled hearing
delays GOP voting restriction bill in Texas, AP News (Mar. 25, 2021),
https://apnews.com/article/donald-trump-texas-house-elections-voting-government-and-politics-
d13bb0a173528ab7417f737718447a12.
68
 Nicholas Reimann, Texas Moving Forward with Voter Restriction Bill After 22-Hour Hearing—
Over   350    Similar    Bills  Filed   Across    U.S.,     Forbes,     (Apr.   2,    2021)



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       119.    The majority of public testimony was in opposition of H.B. 6. Among those who

testified in opposition was Harris County Elections Administrator Isabel Longoria. Ms. Longoria

explained that, among other things, H.B. 6’s restrictions on the provision of mail-in ballot

applications and elimination of the majority of mail-in ballot drop-off locations would

discriminatorily impact Black and Latino voters, as these methods were predominantly used by

voters of color in the 2020 election. Ms. Longoria emphasized that nothing in H.B. 6 protected

the integrity of elections or would make voting more accessible or more secure.

       120.    Lauren Sullivan, Young County Elections Administrator, also testified, urging the

House Committee to reconsider H.B. 6. Ms. Sullivan reminded the Committee that legislation

targeted at large, urban counties makes conditions more difficult for voters in rural counties as

well due to lack of funding and other resources.

       121.    David Stout, El Paso County Commissioner for Precinct 2, testified in opposition

to the bill, stating that El Paso County in the 2020 election had the highest voter turnout ever at

55%. El Paso County is 82.9% Latino.69 Mr. Stout attributed this increase to the voting measures

the county implemented to increase voter turnout, including sending mail-in ballot applications to

voters over age 65, extending hours at polling locations, and implementing curbside and drive-

thru voting.

       122.    Linda Jann Lewis, a volunteer for a Texas voter protection hotline, testified to

numerous phone calls she has received at the hotline from poll workers who will not work the

next election if H.B. 6 passes for fear of prosecution if a mistake is made.



https://www.forbes.com/sites/nicholasreimann/2021/04/02/texas-moving-forward-with-voter-
restriction-bill-after-22-hour-hearing-over-350-similar-bills-filed-across-us/?sh=4fb551562a36.
69
         U.S.    Dep’t       of       Com.,      U.S.           Census         Bureau      (2019),
https://www.census.gov/quickfacts/elpasocountytexas.


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       123.    On April 8, 2021, the House Elections Committee advanced H.B. 6 to the House

Calendars Committee to be scheduled for a full Texas House vote, but no more movement

occurred on the bill until April 29, when the text of H.B. 6 was substituted for the text of S.B. 7

during the House Elections Committee hearing on S.B. 7.

       124.    S.B. 7 was similarly characterized by procedural irregularities from its introduction.

On March 26, 2021, public testimony was heard on S.B. 7 in the Senate State Affairs Committee.

Ms. Longoria also testified in front of the Senate Committee and explained how S.B. 7 would

discriminatorily impact voting, voter registration, and voters in Harris County through (1)

forbidding local elections officers from educating their constituents about mail-in ballots, (2)

prohibiting voting options such as drive-thru centers – an option specifically requested by Harris

County constituents, and (3) by limiting hours for early voting and prohibiting twenty-four hour

voting centers.

       125.    After several more hours of public testimony overwhelmingly in opposition to S.B.

7, the bill passed out of the Senate State Affairs Committee and advanced to the full Texas Senate.

       126.    During the Texas Senate’s debate on S.B. 7, on March 30, 2021, senators from

across the state, but particularly from urban counties, expressed concern and opposition to the bill,

questioning Senator Hughes, the bill’s author, about specific provisions of S.B. 7 which would

disproportionately impact large, urban counties and Black and Latino voters. For example, Senator

Carol Alvarado representing District 6, which encompasses parts of Houston, noted that the bill

appeared to target Harris County, and would disproportionately impact Black and Latino voters,

as 56% of the Harris County voters who took advantage of extended voting hours and 53% of

Harris County voters who used drive-thru voting centers were Black, Latino, and other voters of




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color. Senator Alvarado also expressed concerns that representatives of larger, urban counties like

Harris County were not consulted in drafting the legislation.

           127.   Senator Borris Miles, representing Harris County District 13, expressed his

opposition to the bill because it was grounded on baseless claims of election fraud. He cited a

2020 Houston Chronicle article noting the Texas Attorney General prosecuted only sixteen people

for voter fraud due to incorrect addresses on voter registration forms, none of which resulted in

jail time.70 Senator Miles further stated that according to another 2021 Houston Chronicle article

citing an analysis by the American Civil Liberties Union, 72% of all voter fraud prosecutions

brought by Texas Attorney General Paxton since he took office in 2015 were against Black and

Latino voters,71 arguing that S.B. 7 “is a clear case of suppression.” This same Houston Chronicle

article as cited by Senator Miles also reported that 86% of the voter fraud prosecutions involved

offenses that allegedly occurred in majority non-white and Latino counties and only four of the

ninety-three total prosecutions were against white defendants.72

           128.   The Texas Senate passed S.B. 7 early in the morning of April 1, 2021 after a seven-

hour, overnight debate. From the Senate, S.B. 7 moved to the House.

           129.   On April 29, 2021, the House Elections Committee approved a committee

substitute for S.B. 7 that replaced the text of S.B. 7, in its entirety, with the text of H.B. 6.



70
   Taylor Goldenstein & Austin Bureau, Ken Paxton’s beefed-up 2020 voter fraud unit closed 16
minor cases, all in Harris County, Houston Chronicle (Dec. 27, 2020),
https://www.houstonchronicle.com/politics/texas/article/politics/texas/article/Ken-Paxton-s-
beefed-up-2020-voter-fraud-unit-15820210.php.
71
  Taylor Goldenstein & Austin Bureau, At least 72% of AG Ken Paxton’s voter fraud prosecutions
target people of color, analysis shows, Houston Chronicle, (Mar. 24, 2021),
https://www.houstonchronicle.com/politics/texas/article/Ken-Paxton-voter-fraud-minorities-
target-election-16049496.php.
72
     Id.


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Chairman Cain called S.B. 7 right before the committee had to recess for a floor session, even

though the bill was not on that meeting’s agenda and even though committee members were

unsure of the bill’s contents. The bill eventually was voted on and approved by the committee

later that day, after the committee reconvened.

         130.    S.B. 7 was scheduled to be heard on the House floor on May 6, 2021, with over 130

proposed amendments offered to its text.73 The vote on S.B. 7 was delayed through the day of

May 6, repeatedly, including for the last time at 10:30 pm.74

         131.    When the Texas Representatives returned to the floor to vote on S.B. 7’s final

approval, several Representatives opposing the legislation provided closing remarks on the bill’s

discriminatory intent. Representative Jasmine Crockett, representing Dallas County District 100,

spoke to the bill’s clear intent to suppress voters, asserting that “[s]uppression looks like Black,

brown and disabled people telling you to your face that this policy will affect them in a negative

way and allowing them to fall on deaf ears.75 Representative Rafael Anchía, representing Dallas

County District 103, echoed Representative Crockett’s sentiments, calling particular attention to

S.B. 7’s ties to white supremacy as clearly indicated by its designated purpose to “76 purity of the

ballot box.” Later, this language was removed.



73
   Alexa Ura, Texas GOP’s voting restrictions bill could be rewritten behind closed doors after
final      House        passage,       Texas         Tribune,       (May        7,      2021),
https://www.texastribune.org/2021/05/07/texas-voting-restrictions/.
74
     House Journal, 87th Leg. Regular Session Minutes, May 6, 2021.
75
  Alexa Ura, Texas voting restrictions bill could be rewritten behind closed doors after final
House passage, Texas Tribune (May 7, 2021), https://www.texastribune.org/2021/05/07/texas-
voting-restrictions/.
76
   Id. (Representative Anchía asserted that “SB 7 rode into the Texas House cloaked in that
longstanding pretext ‘purity of the ballot box’ that has denied full participation of African
Americans and Latinos for generations.”).



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           132.   On May 7, 2021, at 3:00 am, the House heard and voted on S.B. 7, passing the bill

on a 78-64 party-line vote.77 Ultimately, members of the House were able to secure amendments

that curtailed some of the most onerous provisions of the House version of S.B. 7, including bans

on drive-thru voting and 24-hour voting, new rules for voting machine allocation, and allowing

partisan poll-watchers to record or photograph voters.

           133.   Because the version of S.B. 7 that passed the Senate was amended after

engrossment in both the Texas Senate and House of Representatives, a conference committee was

called by the Texas Senate. In Texas, a conference committee is called to “work out differences

between the house version and the senate version of a bill that has been amended after

engrossment.”78 A conference committee’s charge is limited to reconciling differences between

the two chambers, and the committee may not change, alter, amend, or omit text that is not in

disagreement without the adoption of an “out of bounds” resolution by both chambers.79

           134.   On May 18, 2021, the Senate appointed the following conferees: Senators Paul

Bettencourt, Dawn Buckingham, Lois Kolkhorst and Beverly Powell.80 The House granted the

Senate’s request for the appointment of a conference committee and appointed Representatives




77
     Id.
78
   Tx. Legislative Reference Library, Conference committee reports, lrl.texas.gov (last accessed
May                                           21,                                         2021),
https://lrl.texas.gov/legis/conferencecommitteereports.cfm#:~:text=A%20conference%20commit
tee%20is%20called,from%20the%20Texas%20Legislature%20Online..
79
    Texas Legislative Council, The Legislative Process in Texas 6 (Feb. 2021),
https://tlc.texas.gov/docs/legref/legislativeprocess.pdf#page=12.
80
        House      Journal      at      3317,     87th  Leg.,   Reg.   Sess.               (2021),
https://journals.house.texas.gov/hjrnl/87r/pdf/87RDAY49CFINAL.PDF#page=15.



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Briscoe Cain as the Chair, Terry Canales, Travis Clardy, Nicole Collier and Jacey Jetton on May

19, 2021.81

       135.   The Texas State NAACP Conference and the League of United Latin American

Citizens sent a letter to Lt. Governor Dan Patrick, the presiding chair of the Senate, and Senator

Bryan Hughes, the author of S.B. 7, expressed their disappointment that the Senate did not appoint

any Black or Latino conferees. The “seemingly intentional oversight,” they wrote, was

disappointing given that S.B. 7 “will have a far greater and negative impact on the Black and

Brown communities” in Texas.82

       136.   With the end of the legislative session just three days away, on May 28, the Chairs

of the House and Senate Elections Committees tweeted they “reached an agreement” on the

contents of the Conference Committee Report, and the content of Senate Bill 7, stating that “[e]ven

as the national media minimizes the importance of election integrity, the Texas Legislature has

not bent to headlines or corporate virtue signaling.”83 Yet at the time of this statement by the

Chairs, the several Democratic members of the Conference Committee, and the only people of

color on the Committee, had not seen the Conference Committee Report, nor the contents of the

bill the Chairs claimed the Texas Legislature had recommended.84



81
        Senate      Journal      at      1603,     87th    Leg.,   Reg.         Sess.      (2021),
https://journals.senate.texas.gov/sjrnl/87r/pdf/87RSJ05-19-F.PDF#page=17.
82
  Texas NAACP and LULAC blast GOP maneuvers over SB 7, North Dallas Gazette (May 20,
2021), https://northdallasgazette.com/2021/05/20/texas-naacp-and-lulac-blast-gop-maneuvers-
over-sb7/.
83
   Press Release, Chairmen Agree on SB 7, The Texas Election Integrity Bill by Senator Hughes
and             Representative         Cain            (May              28,            2021),
https://pbs.twimg.com/media/E2g3amsWQAMpco3?format=jpg.
84
  Lauren McGaughy, GOP Announces Deal on Divisive Elections Bill, Democrats Say They Were
Locked    Out   Of    Process,   Dallas    News       (May       28,   2021      7:49PM),



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          137.   The text of the Committee Report itself, ultimately released on May 29, revealed

additional procedural departures and new burdens on voting. The Committee Report was 180

pages long. It included a 67-page bill, roughly 12 pages of which contained additional provisions

that were not included in either version of S.B. 7 that had passed the House or Senate.85 Among

these changes was Section 3.10, which added the provision that in a county with a population of

30,000 or more, voting by personal appearance on the “last Sunday of the early voting period …

may not be conducted earlier than 1 p.m. or later than 9 p.m.”86 This provision would have

provided for a shorter period of voting on the Sunday before election day than on other early-

voting days. It was widely known that many Black voters participate in “souls to the polls” voting

on the Sunday morning before an election.87

          138.   The Committee Report contained new provisions from other election-related bills

that failed to pass both houses of the Legislature, including identification requirements for mail

ballots and applications.88 It also created a provision which, in conjunction with other provisions

of S.B. 7 that make it easier to declare votes invalid, would lower the evidentiary standard

necessary for a court to declare an election void.89



https://www.dallasnews.com/news/politics/2021/05/28/gop-announces-deal-on-divisive-
elections-bill-democrats-say-they-were-locked-out-of-process/.
85
   Alexa Ura, After drastic changes made behind closed doors, and an overnight debate, Texas
Senate     approves       voting     bill,   Texas       Tribune      (May    30,     2021),
https://www.texastribune.org/2021/05/30/texas-voting-restrictions-senate/.
86
     S.B. 7 § 3.10 (amending Tex. Elect. Code § 85.006(e)).
87
   LDF Opposition Senate Bill 7 Conference Committee Report at 3-4 (May 29, 2021),
https://www.naacpldf.org/wp-content/uploads/LDF-Conference-Committee-Report-Opposition-
Senate-20210529-1.pdf.
88
     S.B. 7 §5.04.
89
  S.B. 7, § 8.05 (amending Tex. Election Code to add §§ 232.062, 232.063 such that if a contestant
can prove an allegation of election fraud by a preponderance of the evidence and that “[i]f the



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           139.   Some of the amendments that House Democrats had made to S.B. 7 were

eliminated, meaning that the bill reverted to eliminating drive-thru voting and banning 24-hour

voting.

           140.   After releasing the committee report on Saturday morning, the Senate suspended

the chamber’s rule that would have required giving senators 24 hours to review the Committee

Report. Instead, the Senate began debating the bill around 10:00pm on Saturday evening and voted

18-13 to pass the bill shortly after 6:00am on Sunday, May 30, 2021.

           141.   For S.B. 7 to make it to Governor Abbott during the regular legislative session, the

bill had to pass the House by midnight that same day. A quorum of two-thirds is required to take

a vote in the House.90 However, with about an hour left until the end of the legislative session, the

Texas House Democrats staged a walkout, breaking quorum to prevent a vote on the legislation.91

           142.   In the immediate aftermath of the walkout, Governor Abbott made clear he not only

would call for a special legislative session,92 but gravely tweeted “[n]o pay for those who abandon

their responsibilities . . . Stay tuned.”93




number of votes illegally cast in the election is equal to or greater than the number of votes
necessary to change the outcome of an election, the court may declare the election void without
attempting to determine how individual voters voted.”)
90
  Rules of the House of Representatives of the State of Texas 87th Legislature, Rule 5, Chapter
A, Section 1.
91
  Alexa Ura, Texas Democrats abandon House floor, blocking passage of voting bill before final
deadline, the Texas Tribune, May 30, 2021, https://www.texastribune.org/2021/05/30/texas-
voting-restrictions-house/.
92
     Id.
93
  Patrick Svitek, Texas Gov. Greg Abbott vows to defund state Legislature after voting restrictions
bill    fails,   threatening    salaries,   the     Texas     Tribune,     May       31,     2021,
https://www.texastribune.org/2021/05/31/texas-greg-abbott-funding-legislature/.



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           143.   Governor Abbott’s threats became reality on June 18, 2021 when he vetoed funding

of the Texas Legislature as punishment for the House Democrats breaking quorum, impacting

2,100 Texas workers including Senators, House members, staffers, and employees of several

legislative agencies.94 Shortly after, Governor Abbott set a thirty-day special legislative session

for July 8, 2021, confirming the agenda would include “[l]egislation strengthening the integrity of

elections in Texas.”95

           144.   With the special session looming, House Speaker Dade Phelan brought in a new

author for the elections bill—Republican Representative Andrew Murr.96 Representative Murr

formed the House Select Committee on Constitutional Rights and Remedies—a select,

Republican-majority committee where the election bills would be referred.97

           145.   Both the Senate and House election bills, now deemed S.B. 1 and H.B. 3,

respectively, were set for hearings to start on Saturday, July 10, 2021.98 In the House hearings,

“Democrats repeatedly asked whether Murr had conducted a disparate impact study to assess if




94
   Cassandra Pollock, Gov. Greg Abbott vetoes funding for Texas Legislature and its staff as
punishment for Democrats’ walkout on elections bill, the Texas Tribune, June 18, 2021,
https://www.texastribune.org/2021/06/18/greg-abbott-veto-legislature-democrats/.
95
     Proclamation by the Governor of the State of Texas, July 7, 2021,
https://gov.texas.gov/uploads/files/press/PROC_first_called_session_87th_legislature_IMAGE_
07-07-21.pdf.
96
   Patrick Svitek & Cassandra Pollock, Texas House attempting to reset on contentious elections
bill with new author, new committee in special session, the Texas Tribune, July 8, 2021,
https://www.texastribune.org/2021/07/08/texas-house-reset-election-bill/.
97
     Id.
98
     Id.



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the new voting rules would disproportionately affect voters of color. He indicated he had not.”99

Approximately 300 people signed up to testify on S.B. 1 and 484 people signed up to testify on

H.B. 3.100 While the hearing for H.B. 3 began at 8:00 A.M. Saturday morning, it lasted more than

seventeen hours so that public testimony on H.B. 3 did not begin until almost 2:00 A.M. Sunday

morning.101 For the hearing on S.B. 1, public testimony began early afternoon on Saturday, but

the testimony still ran into the early hours of Sunday morning.102 At the completion of both

hearings and public testimony, the House and Senate committees voted to advance the legislation

in party-line votes.103

            146.   With twenty-six days left in the special session and S.B. 1 and H.B. 3 set to hit the

Senate and House floors the following Monday, July 12, 2021, fifty-one of the sixty-seven House

Democrats left Texas for Washington D.C. to break quorum and again, stop the vote.104

            147.   In response, the House Republicans voted and passed a “call of the House” to regain

quorum by asking that ““the sergeant at arms, or officers appointed by him, send for all absentees




99
   Alexa Ura & Cassandra Pollock, GOP voting bills advance in Texas House and Senate after
overnight    committee      hearings,    The      Texas     Tribune, July    10,    2021,
https://www.texastribune.org/2021/07/10/voting-bill-texas/.
100
   Alexa Ura, Texans testifying on GOP voting bill faced a 17 hour-wait to be heard by lawmakers
in      the   dead      of     night,   The       Texas      Tribune,      July     11,    2021,
https://www.texastribune.org/2021/07/10/texas-legislature-gop-voting-bill/.
101
      Id.
102
      Id.
103
   Alexa Ura & Cassandra Pollock, Texas House Democrats flee the state in move that could block
voting restrictions bill, bring Legislature to a halt, The Texas Tribune, July 12, 2021,
https://www.texastribune.org/2021/07/12/texas-democrats-voting-bill-quorum/.
104
      Id.



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. . . under warrant of arrest if necessary,” effectively making the missing Democrats legislative

fugitives.”105 House Speaker Phelan even signed dozens of civil arrest warrants.

           148.   Despite many of the House Democrats still out-of-state or pledging to not return to

the Capitol, Governor Abbott announced the second special legislative session would begin

August 11, 2021 at 12:00 P.M.106 The second special session kicked off without a quorum in the

House and House Speaker Phelan signing dozens of civil arrest warrants.107 Although a Travis

County judge issued Temporary Restraining Orders to block the civil arrests, the Texas

Constitution gives the House of Representatives authority to physically compel the attendance of,

i.e., arrest, absent members.108

           149.   For its part, the Senate moved forward on S.B. 1.109 In a statement regarding S.B.

1, Senator Judith Zaffirini highlighted how the provisions of S.B. 1 “would make voting easier for

some Texans, [but] it simultaneously would make it harder for historically disenfranchised

communities of color to participate in elections.”110 Specifically, Senator Zaffirini stated that



105
    Patrick Svitek & Cassandra Pollock, Texas House Republicans vote to track down absent
Democrats and arrest them if necessary, The Texas Tribune, July 13, 2021,
https://www.texastribune.org/2021/07/13/texas-democrats-walkout-voting-bill-arrest/.
106
    Patrick Svitek, Gov. Greg Abbott announces special legislative session starting Saturday,
covering elections, federal COVID-19 funding, quorum rules, The Texas Tribune, Aug. 5, 2021,
https://www.texastribune.org/2021/08/02/greg-abbott-texas-special-legislative-session/.
107
   Joshua Fechter, Texas Supreme Court says House Democrats can be arrested and brought to
the Capitol, siding with Republicans trying to secure a quorum, The Texas Tribune, Aug. 17, 2021,
https://www.texastribune.org/2021/08/17/texas-house-democrats-arrest-quorum/.
108
      Svitek, supra at 99; Fechter, supra at 100;
109
    Cassandra Pollock, Alexa Ura, & James Barragan, Another special session to pass a GOP
voting bill started without a quorum. This time it’s unclear if Democrats will stay away, The Texas
Tribune, Aug. 7, 2021, https://www.texastribune.org/2021/08/07/texas-democrats-special-
session/.
110
      S.J. of Tex., 87th Leg., 2d C.S. 5 (2021) (statement of S. Judith Zaffirini).



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while S.B. 1 “reduces the number of early voting hours in only four counties[,] [a]pproximately

one of three Black Texans, one of three Latino Texans, and one of three Asian Texans, . . . live in

one of these four counties.”111 The Senator again recounted how few instances of voting fraud

there truly were, with only “44 voting fraud cases pending—of 11.2 million votes cast in Texas in

2020. As witness Julie Oliver testified before the State Affairs Committee, since 2004 there have

been 839 complaints of fraud in Texas—of more than 100 million votes cast.”112 Despite Senator

Zaffirini’s statement and a fifteen-hour filibuster by Democratic Senator Carol Alvarado, S.B. 1

passed the Senate August 12, 2021113

            150.   The Texas House regained quorum with the return of many House Democrats and

hours of public testimony in front of the House Committee on Constitutional Rights and Remedies

on S.B. 1 were again heard on August 23, 2021.114 Following public testimony, the Committee

passed S.B. 1 in a 9-5 party-line vote.115 However, the Committee replaced S.B. 1 with language

from its own bill, H.B. 3.116




111
      Id.
112
      Id.
113
    Alexa Ura, Texas Senate outlasts 15-hour filibuster by Sen. Carol Alvarado to pass GOP
voting-restrictions    bill,     The       Texas       Tribune,        Aug.   11,      2021,
https://www.texastribune.org/2021/08/11/texas-voting-bill-filibuster/.
114
   Adam Bennett, Houstonians testify on election bill as Texas House reaches quorum, KHOU
11, Aug. 23, 2021, https://www.khou.com/article/news/politics/election-bill-testimony-texas-
house-quorum/285-bf407074-182d-49a9-ae9d-674a46ca990f.
115
    Alexa Ura, Texas House committee again passes the voting restrictions bill that instigated
Democratic      quorum       break,    the     Texas       Tribune,     Aug.    23,      2021,
https://www.texastribune.org/2021/08/23/texas-voting-bill-legislature/.
116
      Id.



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            151.   On August 26, 2021, the House debated S.B. 1 for over twelve hours. During the

debate, as members attempted to discuss the bill’s racial impact, Speaker Dade Phelan banned use

of the word “racism” in the debate.117

            152.   At 1:00 A.M. on Friday, August 27, 2021, after sixty-four amendments were read

and debated, the Texas House voted 79-37 to pass S.B. 1.

            153.   The Senate requested a conference committee to reconcile the differences between

the version of S.B. 1 that the Senate passed and the version that the House passed. Specifically,

the Senate’s author, Senator Bryan Hughes, disapproved of the “Mason” Amendment added by

Republican House Representative Briscoe Cain in a bipartisan effort to address the controversial

conviction of Crystal Mason by preventing voter mistakes from being prosecuted as fraud.118 Ms.

Mason was a Texas voter sentenced to five-years for casting a provisional ballot she did not know

she was ineligible to cast due to her being on “federal supervised release,” a preliminary period of

freedom for individuals who have served their full time of incarceration in federal prison.119

Ultimately, the Mason Amendment was not included.120 The conference committee report was

released Monday, August 30, 2021.




117
    Nick Natario, Texas House speaker Dade Phelan bans word ‘racism’ during debate over
elections bill, ABC 13 (Aug. 27, 2021), https://abc13.com/texas-legislature-election-bill-house-
speaker-dade-phelan/10978475/.
118
    Alexa Ura, Republican bill tightening Texas election laws is headed to Gov. Greg Abbott’s
desk, the Texas Tribune (Aug. 31, 2021), https://www.texastribune.org/2021/08/31/texas-voting-
restrictions-bill/.
119
      Id.
120
      Id.



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            154.   The Texas House passed S.B. 1 on August 31, 2021 with an 80-41 vote.121 That

same day, the Texas Senate then passed S.B. 1 18-13 in a party-line vote.122

            155.   On September 7, 2021, Governor Abbott signed S.B. 1 into law, which will

officially go into effect three months prior to the 2022 primary elections.123

      G. The Effects of S.B. 1
            156.   Approximately 1.6 million registered voters in Harris County voted in the

November 3, 2020 General and Special Election. Approximately 1.3 million voted early in

person; over 177, 000 voted by mail; and over 200,000 voted on Election Day.124

            157.   S.B. 1 targets the various voting channels previously available under the Texas

election code before the passing of S.B. 1 that voters of color, particularly in Harris County, used

to cast a ballot in the 2020 election. Black and Latino voters are more likely to vote by mail and

more likely to vote early than non-Black and non-Latino Harris County, Texas voters. Black

voters in Harris County are also more likely to vote early, by drive-thru, and at curbside polling

locations.

            158.   The effect of S.B. 1 is to eliminate the methods and means of voting

disproportionately used by voters of color, particularly Black and Latino voters, in the 2020

general election. Black and Latino voters are more likely to work multiple jobs and odd hours than

white Texans. Moreover, Black and Latino voters in Harris County are more likely to exhibit


121
    Shawna M. Reding, Texas elections bill, Senate Bill 1, heads to governor’s desk for signature,
KVUE, (Aug. 31, 2021), https://www.kvue.com/article/news/politics/special-session/election-
bill-texas-senate-bill-1-house-vote/269-a3173f81-36eb-4185-8ed5-152fe5038233.
122
      Id.
123
      See id.
124
    Harris County Elections, Election Results Archive, November 3, 2020 General and Special
Elections           Canvass            Report,           (Nov.          16,          2020),
https://www.harrisvotes.com/HISTORY/20201103/Official%20Canvass.pdf.


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lower socio-economic factors than white voters in Harris County, and more likely to “(1) live in

poverty, (2) have less flexible work schedules, (3) lack access to transportation, and (4) lack access

to childcare assistance” to cast a ballot in person. See, e.g., Campos v. Baytown, 696 F. Supp

1128, 1132 (S.D. Tex. 1987); see also N.C. State Conference of the NAACP v. McCrory, 831 F.3d

204, 218 (4th Cir. 2016). S.B. 1 serves to make voting more burdensome for Black and Latino

voters and sends a message to people of color more broadly that their participation in the

democratic process is not welcome.

       159.     S.B. 1 also discourages and dissuades voters of color from voting in future

elections by increasing the costs of voting. S.B. 1 restricts the scheduling of early voting hours;

limits the distribution of applications for early voting ballots and eliminates straight-ticket voting,

thereby ensuring longer wait times at the polls. Shorter lines at the polls and flexible voting hours,

outside of traditional business hours or on Election Day, overwhelmingly benefit Black, Latino,

as well as disabled and other vulnerable or marginalized voters, including disabled voters. Because

the costs associated with voting are hardest for Black and Latino voters to shoulder, these voters

are also more likely to be discouraged from voting by long wait times at the polls.

       160.    S.B. 1 not only eliminates methods and means of voting that are convenient, safe,

and popular, it also hinders county elections administrators’ flexibility to administer elections

according to the needs of their electorate and discourages administrators from zealously serving

their electorate by creating criminal penalties for a wide array of conduct that is associated with

enfranchisement.

       161.    S.B. 1 restricts the scheduling of Texas’ early voting period, and the limitations will

disproportionately harm Black and Latino Texans. S.B. 1 limits early voting to the hours of 6:00

a.m. until 10:00 p.m. This limits early voting hours that are most accessible and convenient for




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individuals who work non-traditional work hours, who are disproportionately people of color, and

eliminates the option of offering 24-hour early voting entirely.125

       162.    In the 2020 presidential election, over 120,000 voters in Harris County voted by

drive-thru. Drive-thru voting makes voting by personal appearance easier, safer, and more

accessible, and overwhelmingly benefits Black, Latino, elderly, and disabled voters who are less

able to wait in long lines to vote. S.B. 1 Sections 3.04, 3.11, and 3.12, eliminate drive-thru voting.

S.B. 1 permits voting only inside a building and prohibits temporary voting locations such as tents,

moveable structures or any facility primarily designed for motor vehicles. Because Black and

Latino voters are less likely to have flexible work schedules, and thus can hardly afford to wait in

long lines, S.B. 1 makes it burdensome for Black and Latino voters.

       163.    During the 2020 presidential election, most Bexar County voters cast their ballots

during the early voting period, either in person or by mail. Of the 773,796 votes cast in the County

in the 2020 presidential election, 689,550 voters voted during the early voting period, 92,589 of

whom voted by absentee ballot, and a mere 84,246 voters voted in person on November 3, 2020,

Election Day.126    Bexar County’s population is 60.7 percent Latino, with a sizable Black

population of 8.6 percent.127 The methods and means of voting targeted by S.B. 1 will severely

curtail the primary forms of participation for Black and Latino voters in Bexar County.




126
   Bexar Cnty. Elections Dept., Historical Election Results: November 3, 2020 General Election
Media Report, https://www.bexar.org/DocumentCenter/View/28532/November-3-2020-General-
Election-Media-Report (last visited Sept. 1, 2021)
127
  Census Bureau, Quick Facts, https://www.census.gov/quickfacts/bexarcountytexas (last visited
Sept. 1, 2021).



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          164.    Another provision of S.B. 1 that will operate to increase wait times at the polls in

conjunction with the other provisions of S.B. 1 is Section 3.15, which eliminates straight-ticket

voting. Texans have relied on the ability to cast their votes for all candidates of their preferred

party with a single click of a box at the top of their ballot because in Texas, ballots often include

as many as 95 races in a single county.128 As Texas State Senator Judith Zaffirini has explained,

“[l]ines and ballot fatigue can exhaust voters’ patience, and eliminating the straight-party option

would only make things worse and cause many either to skip down-ballot races altogether or not

go to the polls at all”.129

165.      The elimination of straight-ticket voting–which will inevitably increase the amount of time

it takes an individual voter to complete their ballot–ensures longer lines at the polls in all future

elections, making it more difficult for voters of color, particularly Black and Latino voters, and

voters with disabilities, from casting a ballot in person, where lines to vote are already long. See

infra Section [*148].

166.      S.B. 1’s prohibition on ballot drop boxes will also contribute to longer lines at the polls by

reducing yet another opportunity to vote outside of Election Day. Drop boxes allow voters to

submit their absentee ballots in advance of Election Day, avoiding the risk that the ballot might

be delayed or lost in the mail. Without this drop box option, voters will be forced to choose

between relying on the mail and returning their ballot well in advance of the election or showing

up on Election Day to cast their vote.




128
  Tex. All. for Retired Ams v. Hughs, 489 F.Supp. 3d 667, 677 (S.D. Tex. 2020) (“Texans’ reliance
on [straight-ticket voting] likely stems from Texas’ exceptionally lengthy ballots, which
sometimes list as many as 95 races in a single county”).
129
      Tex. S.J., 8th Leg., Reg. Sess., Sen. Zaffirini (May 18, 2017).


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          167.      S.B. 1 also places onerous requirements on individuals applying to vote by mail

and outlaws any election official from distributing an early vote-by-mail application to anyone

who has not requested one; prevents public officials from using public funds to allow another

person to distribute early vote-by-mail applications to anyone who has not requested one; and

prevents early voting clerks from making any attempt to solicit a person to complete an application

for an early vote-by-mail ballot, whether directly or through a third party.130 Moreover, any

offense under this section is a state jail felony.131

          168.      Plaintiff organizations often receive applications free of charge from county

officials, and often work in concert with county election officials to serve historically

disenfranchised and underserved communities, including Black and Latino communities. For

example, public officials in Harris County sent pre-filled vote-by-mail applications to residents

over 65 years of age, including Plaintiffs, in Harris County. Plaintiffs Delta Sigma Theta Sorority,

Inc., HAUL, Houston Justice, and other non-partisan non-profit grassroots organizations132

engage in efforts to facilitate voters’ applications to vote by mail in underrepresented

communities. S.B. 1 prohibits or burdens Plaintiffs, and similar organizations, in their efforts to

serve disenfranchised communities of color and prevents or unnecessarily impedes these

organizations from providing critical services that Black and Latino Texans have relied upon to

participate in the political process. For example, because vote-by-mail applications will not be

available from county election officials, Plaintiffs Houston Justice and HAUL will either have to



130
   S.B. 1, 87th Leg., 2nd Special Sess. (Tex. 2021) (Section 7.04 amending Tex. Elec. Code
§ 276.016); ).
131
      Id. § 7.04.
132
   MOVE Texas https://movetexas.org/about/ (last visited May 1, 2021). MOVE Texas is not a
party to this suit.


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discontinue the provision of vote-by-mail applications and assistance in completing those

applications to its clients and community members they serve--a key component of Houston

Justice’s and HAUL’s programming--or undertake unnecessary expenses and expend additional

staff time and other scarce resources to procure sufficient copies of vote-by-mail applications.

       169.    S.B. 1 §§ 4.06, 4.07, 4.09 also impose new criminal penalties on election officials,

including election judges like Plaintiff Clemmons, who take action, seemingly including action

currently required by law, to protect voters from interference and intimidation by poll watchers.

S.B. 1, Section 4.07 gives poll watchers a right of “free movement” at a polling location and makes

it a criminal offense for any election official to knowingly refuse to accept a poll watcher for

service or to take any action “to 133 Yet the Texas Election Code, §§ 33.057, 33.058, also make

clear that “[a] watcher may not be present at the voting station when a voter is preparing the voter’s

ballot or is being assisted by a person of the voter’s choice” and that “[w]hile on duty, a watcher

may not (1) converse with an election officer regarding the election … (2) converse with a voter;

or (3) communicate in any manner with a voter regarding the election.” Sections 33.057 and

33.058 are designed to protect voters from undue interference, harassment and intimidation at the

polls by poll watchers specifically and are in fact necessary to ensure that end. In the November

general election alone, Harris County election judges were forced to intervene in response to

numerous violations of § 33.058 by poll watchers. S.B. 1 imposes criminal penalties on election

officials for taking steps to protect voters from poll watchers, including, it seems, action elsewhere

required by the Texas Election Code. S.B. 1’s poll watcher provisions serve to undermine these

existing protections.



133
        S.B. 1, §§ 4.06, 4.07, 4.09 (amending Tex. Elec. Code § 33.051, § 33.056, and § 33.061(a),
respectively).


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       170.    S.B. 1’s harmful provisions that eliminate drive-thru voting, restrict early voting

hours, eliminate straight-ticket voting, subject election officials to multiple criminal penalties for

advancing access to voting while empowering partisan poll watchers, and restrict the ability of

public officials and third-party organizations to distribute vote-by-mail ballot applications to

voters, have a known, predictable and disproportionate impact on Black and Latino voters.

Because S.B. 1 was also enacted with the intent to achieve this result, the Challenged Provisions

violate the First, Fourteenth, and Fifteenth Amendments to the U.S. Constitution, and the Voting

Rights Act of 1965.

       171.    S.B. 1 also imposes significant barriers on voters with disabilities in violation of

the American with Disabilities Act (ADA), Section 504 of the Rehabilitation Act of 1973, and

Section 208 of the Voting Rights Act.

       172.    S.B. 1 Section 5.02 requires an early voting ballot application to either include

specific identification (driver’s license, election identification certificate, personal identification

card, or last four digits of Social Security number) or a statement by the applicant that the voter

has not been issued one of the forms of identification. However, many with disabilities may

possess the identification but not be able to access it—such as individuals with disabilities in

congregate settings--or require assistance in determining whether they have the necessary

identification. Section 5.02 thereby imposes eligibility criteria that tends to screen out people with

disabilities and denies people with disabilities equal access to the early voting ballot application

process.

       173.    S.B. 1 Sections 6.01, 6.03 and 6.05 impose barriers on voters with disabilities by

requiring an individual who provides voting assistance, either with voting in-person or with a

mail-in ballot, to fill out a form reporting his or her name, address, relationship to the voter, and




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whether he or she received any form of compensation. The assistor would have to fill out such a

form for every voter he or she assists, adding time and paperwork, and also subjecting the assistor

to criminal liability for any incorrect form filled out on behalf of a voter. These provisions also

allow poll watchers to observe any activity conducted under this section. Poll watchers—who may

be unfamiliar with federal disability rights laws—may misconstrue and misunderstand lawful and

necessary assistance being provided to voters with disabilities as violating S.B. 1. All of these

provisions may have a chilling effect on individuals providing assistance to voters with disabilities

and prevent them from providing such assistance, thereby interfering with the legal rights of voters

with disabilities and those who assist them in exercising their rights and denying voters with

disabilities equal access to voting.

       174.    Under Section 6.04 of S.B. 1, an individual providing a voter with assistance must

also take an oath, under penalty of perjury, administered by an election officer at the polling place

that includes the statement: “I will confine my assistance to reading the ballot to the voter,

directing the voter to read the ballot, marking the voter’s ballot, or directing the voter to mark the

ballot.” This oath unlawfully limits the scope of assistance the assistor can provide to the voter

with a disability who may need other forms of assistance and thereby denies the voter with a

disability equal access to voting. The assistor also must take the oath “under penalty of perjury,”

potentially chilling individuals from providing critical assistance at the polls for fear of their

assistance being misconstrued by those who are unfamiliar with the protections guaranteed by

federal disability rights laws, thereby interfering with the legal rights of voters with disabilities

and those who assist them in exercising their rights and denying voters with disabilities equal

access to voting.




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                                     CLAIMS FOR RELIEF

                                             Count One

                           Violation of Section 2 of the Voting Rights Act
                                      52 U.S.C. §10301, et seq.
                         (Intentional Racial Discrimination & Vote Denial)

       175.    Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1-

174, as if fully set forth herein.

        176.   Section 2 of the Voting Rights Act of 1965, 52 U.S.C. § 10301, in relevant part,

provides:

            (a) No voting qualification or prerequisite to voting or standard, practice, or procedure

               shall be imposed or applied by any State or political subdivision in a manner which

               results in a denial or abridgment of the right of any citizen of the United States to

               vote on account of race or color, or [membership in a language minority group].

            (b) A violation of subsection (a) of this section is established if, based on the totality

               of circumstances, it is shown that the political processes leading to nomination or

               election in the State or political subdivision are not equally open to participation by

               members of a class of citizens protected by subsection (a) of this section in that its

               members have less opportunity than other members of the electorate to participate

               in the political process and to elect representatives of their choice.

       177.    A violation of Section 2 of the Voting Rights Act may be based on: (1) a finding of

a discriminatory purpose behind the challenged governmental action; (2) a finding of a

discriminatory result from the challenged governmental action; or (3) under the totality of the

circumstances, the act results in the denial or abridgment of the right to vote “on account of,” or

based on, race or color. League of United Latin Am. Citizens, Council No. 4434 v. Clements, 986




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F.2d 728, 738 (5th Cir. 1993) (citing Chisom v. Roemer, 501 U.S. 380 (1991)); Thornburg v.

Gingles, 478 U.S. 30, 46 (1986).

       178.    The essence of a Section 2 claim is that a certain electoral law, practice, or structure

interacts with social and historical conditions to cause an inequity in the opportunities of Black,

Latino, and people of color to participate in the election process to elect their preferred

representative. Thornburg v. Gingles, 478 U.S. 30, 47 (1986); see also Brnovich v. Democratic

National Committee, 141 S. Ct. 2321, 2341 (2021) (section 2 “commands: consideration of ‘the

totality of circumstances’ that have a bearing on whether a State makes voting ‘equally open’ to

all and gives everyone an equal ‘opportunity’ to vote”).

       179.    Voters of color in Texas, including those served by Plaintiffs Houston Justice,

HAUL, Delta Sigma Theta Sorority, Inc., and The Arc of Texas, bear the effects of discrimination

in education, employment, and health that hinder their ability to participate in the political process

under the provisions set forth in S.B. 1.

       180.    Texas’s history of official discrimination and lingering socioeconomic effects of

discrimination will interact with the persisting legacy of discrimination in education, employment,

and health to impose a discriminatory burden on Black and Latino voters, and to create unequal

opportunities for Black, Latino and other people of color to participate in the election process.

League of United Latin Am. Citizens, 986 F.2d at 755.

       181.    The disproportionate impact of S.B. 1 is caused by present and past discrimination

on account of race and ethnicity by the state of Texas, as shown by the totality of the

circumstances, including factors deemed relevant by the Supreme Court in Thornburg v. Gingles,

478 U.S. 30, 36-37 (1986).




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          182.   As a result of S.B. 1’s provisions and prohibitions described above, individually

and collectively, under the totality of the circumstances, the political process in Texas is not

equally open to participation by Black, Latino, and other voters of color in that such citizens have

less opportunity than other members of the electorate to participate in the political process and to

elect representatives of their choice.

          183.   The burdens of S.B. 1 are intended to, and under the totality of the circumstances

do, disproportionately burden and erect barriers to Black and Latino voters’ ability to participate

in the political process. The burdens include but are not limited to:

          a.     Impeding grassroots organizations’ efforts to assist voters of color to vote by mail,

                 in particular Black and Latino voters, by prohibiting the distribution of early voting

                 applications to third parties for the purpose of “solicit[ing]” persons to apply for an

                 early voting ballot.134

          b.     Eliminating and severely limiting the tools and methods of voting

                 disproportionately used by Black and Latino voters and thereby increasing the

                 amount of time it takes to vote for Black and Latino voters by making early voting

                 and voting-by-mail less convenient and accessible, burdening curbside voting, and

                 by eliminating 24-hour voting, straight-ticket voting and drive-thru voting.

          c.     Creating an environment where Black and Latino voters, who historically are

                 targets of voter intimidation, harassment, and threats, will feel less safe at polling

                 locations because S.B. 1 allows “watchers” to roam freely.




134
      S.B. 1, § 7.04 (amending Tex. Elec. Code § 276.016).


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       184.    These actions will have the effect of disproportionately burdening voters of color,

particularly Black and Latino voters, including in Harris County, served by Plaintiffs Houston

Justice, HAUL, The Arc of Texas, and Delta Sigma Theta, Inc.

        185.   Multiple factors also support an inference that race was a motivating factor behind

the enactment of S.B. 1.

       186.    S.B. 1 was enacted at a time when Black and Latino voters and other voters of color

were making increasing use of means of voting that are restricted or eliminated under S.B. 1.

       187.    S.B. 1 was enacted following the elections in which Texas’s Black and Latino

voting age populations and registered voters are increasing compared to non-Black and non-Latino

voting age population and registered voters.

        188.   The purported justification for S.B. 1 was pretextual. Overwhelmingly, the 2020

election has been lauded as secure, and none of the many legal challenges to the validity of the

election based on allegations of purported voter fraud were even remotely successful. The pretext

of preventing voter fraud to justify disenfranchisement has ties to Texas’s longstanding history of

racially motivated voter suppression, including (1) all-white primaries; (2) secret ballots; (3) poll

taxes; and (4) re-registration and voter purges.135

        189.   The provisions of S.B. 1 described herein constitute the denial or abridgment of the

right of Black, Latino, and other people of color in Texas to vote on account of race or color within

the meaning of Section 2 of the Voting Rights Act.


135
   Veasey v. Abbott, 830 F.3d 216, 336 (5th Cir. 2016) (rehearing en banc) (Dr. Burton, testifying
to Texas’s history of official discrimination in voting and the Fifth Circuit Court of Appeals finding
that, with respect to the state’s photo ID law which the State justified as a measure to prevent voter
fraud, that the “Legislature had access to data from the 2008 and 2010 elections when considering
SB 14, which showed that ‘of the millions of votes cast in both of those elections, there were
perhaps four referrals for in person voter impersonation’ and that ‘one, if not two individuals... had
been officially charged and may have accepted responsibility for impersonation.’”).


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        190.   Absent relief from this court, Defendants will continue to violate Plaintiffs’ rights

under Section 2 of the Voting Rights Act.

                                            Count Two

                              Violation of the Fourteenth Amendment
                             U.S. Const. amend., XIV; 42 U.S.C §1983
                            (Intentional Race Discrimination in Voting)

        191.   Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1-

190, as if fully set forth herein.

        192.   42 U.S.C. § 1983 authorizes suits resulting from the deprivation of a right secured

by the Constitution or the laws of the United States caused by a person acting under the color of

state law.

        193.   Section 1 of the Fourteenth Amendment to the United States Constitution provides

that:

                No state shall make or enforce any law which shall abridge the privileges or
        immunities of citizens of the United States; nor shall any state deprive any person
        of life, liberty, or property, without due process of law; nor deny to any person
        within its jurisdiction the equal protection of the laws.

        194.   The right to vote is a fundamental constitutional right protected by the due process

and equal protection clauses of the Fourteenth Amendment. See, e.g., Bush v. Gore, 531 U.S. 98,

104-05 (2000); Harper v. Va. State Bd. of Elections, 383 U.S. 663, 670 (1966); Anderson v.

Celebrezze, 460 U.S. 780, 786-87 (1983).

        195.   A law or policy is unconstitutional under the equal protection clause when race was

a motivating factor in the decision-making process that led to the law or policy. Vill. of Arlington

Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977).




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       196.      S.B. 1 violates the Fourteenth Amendment to the United States Constitution

pursuant to 42 U.S.C. § 1983 because it was purposefully enacted and operates to deny, abridge,

or suppress the right to vote of otherwise eligible voters on account of race or color.

       197.      The facts alleged herein reveal that S.B. 1 was enacted, at least in part, with a

racially discriminatory intent to discriminate against Black, Latino, and other voters of color in

violation of the United States Constitution.

       198.      S.B. 1 was enacted a time when Black, Latino, and other voters of color were

making increasing use of means of voting that are now being eliminated and restricted by S.B. 1.

       199.      S.B. 1 was enacted in response to an election in which the size of the population of

Black, Latino, and other voters of color had increased in statewide elections.

       200.      The supporters of S.B. 1 were on notice of the foreseeability of the disparate impact

of S.B. 1.

       201.      The purported justification for S.B.1 was pretextual.

       202.      The legislative process leading up to the enactment of S.B. 1 included multiple

departures from normal procedures.

       203.      There are less discriminatory alternatives to every aspect of S.B. 1, including

simply maintaining the status quo, particularly given the complete lack of evidence of significant

voter fraud.

       204.      Implementing and enforcing S.B. 1 will irreparably harm Plaintiffs, as well as

Black, Latino, and other voters of color, and voters with disabilities by denying or abridging their

right to vote.

       205.      Texas’s long history and ongoing record of racial discrimination in the context of

voting, the known and reasonably foreseeable discriminatory impact of S.B. 1, the sequence of




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events and substantive departures from the normal legislative process which resulted in the

enactment of S.B. 1, and the tenuousness of the stated justifications for S.B. 1, raise a strong

inference of a discriminatory purpose in violation of the Fourteenth Amendment.

                                            Count Three

                                Violation of the Fifteenth Amendment
                              U.S. Const. amend., XV; 42 U.S.C §1983
                             (Intentional Race Discrimination in Voting)

          206.   Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1-

205, as if fully set forth herein.

          207.   The Fifteenth Amendment prohibits intentional racial discrimination by state

actors.

          208.   Specifically, Section 1 of the Fifteenth Amendment to the United States

Constitution prohibits states from abridging the “right of citizens of the United States to vote . . .

on account of race, color, or previous condition of servitude.”

          209.   The Fifteenth Amendment therefore prohibits voting laws that “handicap exercise

of the franchise” on account of race because the Amendment “nullifies sophisticated as well as

simple-minded modes of [racial] discrimination.” Tex. Democratic Party v. Abbott, 978 F.3d 168,

184 (5th Cir. 2020) (quoting Lane v. Wilson, 307 U.S. 268, 275 (1939)).

          210.   These amendments to Texas’s Election Code, S.B. 1, violate the Fifteenth

Amendment to the Constitution of the United States because Defendants intentionally enacted and

administer, enforce, and implement the laws to deny, abridge, or suppress the right to vote to

Plaintiffs and other of Texas’s Black and Latino voters on account of race and ethnic origin.

                                             Count Four

                         Violation of the First and Fourteenth Amendments
                          U.S. Const. amend., I and XIV; 42 U.S.C §1983


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                                (Undue Burden on the Right to Vote)

       211.    Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1-

210, as if fully set forth herein.

       212.    The provisions of S.B. 1 place an undue burden on the ability of the Plaintiffs, as

well as Texas’s Black and Latino voters more generally, to participate in elections and cast a ballot

that will count, in violation of the First and Fourteenth Amendments.

       213.    “A court considering a challenge to a state election law must weigh ‘the character

and magnitude of the asserted injury to the rights protected by the First and Fourteenth

Amendments that the plaintiff seeks to vindicate’ against ‘the precise interests put forward by the

State as justifications for the burden imposed by its rule,’ taking into consideration ‘the extent to

which those interests make it necessary to burden the plaintiffs’ rights.’” Burdick v. Takushi, 504

U.S. 428, 434 (1992) (quoting Anderson v. Celebrezze, 460 U.S. 780, 789 (1983)).

       214.    State election administration practices may not burden the right to vote unless

relevant and legitimate state interests of sufficient weight necessarily justify the magnitude and

character of the burden imposed. Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 191

(2008) (Stevens, J., controlling op.) (holding “[h]owever slight th[e] burden may appear, . . . it

must be justified by relevant and legitimate state interests sufficiently weighty to justify the

limitation.”) (citation omitted) (internal quotation marks omitted). The more a challenged law

burdens the right to vote, the more strictly it must be scrutinized. Even slight burdens must be

justified by valid state interests of sufficient weight. Veasey v. Perry, 71 F. Supp. 3d 627, 691

(S.D. Tex. 2014).




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        215.   When a state election law severely burdens the right to vote or is discriminatory, a

court must find that it is “narrowly drawn to advance a state interest of compelling importance”

in order to survive constitutional muster. Burdick, 504 U.S. at 434 (citation omitted).

        216.   S.B. 1’s provisions erect substantial burdens and barriers on Texas voters of color

both through the law’s individual restrictions, as well as collectively through the combined effect

of all the restrictions and barriers created by the legislation.

        217.   S.B. 1’s restrictions on the distribution of absentee ballot applications, by election

officials and third parties, imposes a substantial burden on voters desiring to apply for and vote

absentee that is not outweighed by any purported state interest.

        218.   S.B. 1’s prohibition on voting drop boxes imposes a substantial burden on voters

desiring to vote absentee that is not outweighed by any purported state interest.

        219.   S.B. 1’s restrictions on early voting and drive-thru voting will make it harder for

Black and Latino voters in Texas, who are more likely to not have flexible work schedules or the

luxury to take time off, thereby imposing an unnecessary burden that is not outweighed by any

purported State interest.

        220.   The burdens imposed by these provisions, individually and collectively, are serious

and substantial, and will likely result in the disenfranchisement of voters of color.

        221.   The purported goals of these restrictions to ensure a secure election is pretextual at

best. To the contrary, the restrictions of S.B. 1 harm the election process.

        222.   S.B. 1 undermines confidence in Texas elections, and does so at the expense of

imposing undue burdens on Black and Latino voters.




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        223.   S.B. 1 imposes a substantial burden on the fundamental right to vote for Texas

voters of color, and are neither justified by, nor necessary to promote, any legitimate interest put

forward by the State that was not already adequately protected by preexisting election procedures.

        224.   S.B. 1 irreparably harms Texas Black, Latino, and other voters of color.

       225.    The challenged provisions of S.B. 1 collectively and individually impose severe

and, at a minimum, significant burdens on eligible Texas voters’ right to vote, including on

Plaintiffs and members of Plaintiffs’ organizations.

       226.    None of the burdens imposed by the challenged provisions of S.B. 1 are necessary

to achieve, let alone reasonably related to, any sufficiently weighty, legitimate state interest. The

burdens imposed by the challenged provisions of S.B. 1 accordingly lacks any constitutionally

adequate justification and must be enjoined.

                                               Count Five

                                Violation of the Fourteenth Amendment
                               U.S. Const. Amend. XIV, 42 U.S.C §1983
                              (Void for Vagueness, Denial of Due Process)

       227.    Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1-

226, as if fully set forth herein.

       228.    The Due Process Clause of the Fourteenth Amendment to the U.S. Constitution

prohibits the State of Texas from “depriv[ing] any person of life, liberty, or property without due

process of law.” U.S. Const. Amend. XIV, § 1.

       229.    A state violates the Due Process Clause “by taking away someone’s life, liberty, or

property under a criminal law so vague that it fails to give ordinary people fair notice of the

conduct it punishes, or so standardless that it invites arbitrary enforcement.” Johnson v. United

States, 576 U.S. 590, 595 (2015). Vague laws that invite arbitrary enforcement also violate the




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Due Process clause because “[a] vague law impermissibly delegates basic policy matters to

policemen, judges, and juries for resolution on an ad hoc and subjective basis ...” Grayned v. City

of Rockford, 408 U.S. 104, 108-09 (1972).

       230.    Sections 33.051, 33.056, and 33.061 of the Election Code, as amended by S.B. 1,

are impermissibly vague because they fail to provide a person of ordinary intelligence with fair

notice of what is prohibited and are so standardless that they authorize or encourage arbitrary

enforcement.

       231.    Section 33.051 of the Texas Election Code, as amended by S.B. 1, creates criminal

penalties for an election official, including an election judge, who intentionally or knowingly

refuses to accept a poll watcher for service whose acceptance is required by the Election Code.

This new provision of law creates a criminal penalty; the statute specifies that a violation results

in a Class A misdemeanor. Section 33.051 as amended by S.B. 1 is impermissibly vague because

it does not provide an election official, including an election judge, with notice of whether they

can knowingly refuse to accept a poll watcher for behavior elsewhere prohibited in the Texas

Election Code. Although this provision sets out a mens rea of intentionally or knowingly, the

scienter requirement does not lessen the vagueness of Section 33.051, as amended, because other

areas of the Texas Election Code provide reasons to exclude a poll watcher that could reasonably

be interpreted as inconsistent with the broad language of this new provision.

       232.    Section 33.056 of the Texas Election Code, amended by S.B. 1, sets out that a poll

watcher may not be denied free movement within the location at which the poll watcher is serving.

This provision of law is impermissibly vague because it does not give a person of ordinary

intelligence fair notice of what conduct is prohibited. Specifically, this provision of law does not

define “free movement,” nor does the Texas Election Code. S.B. 1’s definition of a poll watcher’s




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right to “observe” as “sit[ting] or stand[ing] near enough to see and hear” the activity does not

cure this vagueness problem because the definition of “observe” is subjective and depends on

context. A poll watcher’s unfettered “free movement” and ability to “see and hear” is required in

the context of polling places and other vote counting locations, which are crowded and full of

other election officials trying, and indeed often legally obligated, to carry out their duties. If, for

example, an election official is required to stand in a particular location that a poll watcher seeks

to occupy, is the election official required in all instances to move, to prevent a poll watcher from

being denied free movement?

          233.    Moreover, this provision does not make clear how it relates to other sections of the

Texas Election Code that prevent poll watchers from speaking directly to a voter or election

official, or observing a voter’s ballot. The Texas Election Code, Section 33.057 explains that “[a]

watcher may not be present at the voting station when a voter is preparing the voter’s ballot or is

being assisted by a person of the voter’s choice.” The Texas Election Code also specifies at

section 33.058 that “[w]hile on duty, a watcher may not (1) converse with an election officer

regarding the election … (2) converse with a voter; or (3) communicate in any manner with a

voter regarding the election.”

          234.    Section 33.061 of the Texas Election Code, also amended by S.B. 1, makes it a

criminal offense for any election official, including an election judge, to take any action “to

obstruct the view of a watcher or distance the watcher from the activity . . . in a manner that would

make observation not reasonably effective.”136 An offense under this section of the Texas Election

Code amended by S.B. 1 is a Class A misdemeanor. This section’s text fails to define the conduct

it prohibits with sufficient specificity to apprise an ordinary person of its requirements. For


136
      S.B. 1 § 4.09.


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example, it is not clear from the text from whose perspective the “observation not reasonably

effective” standard applies. The provision is also impermissibly vague because it is in conflict

with other areas of the Texas Election Code, described above. And by proscribing conduct that

makes someone else’s “observation not reasonably effective,” Section 33.061, as amended by S.B.

1, is so standardless that it invites arbitrary and disparate enforcement by parties not entrusted

with policymaking authority.

       235.    Plaintiff Jeffrey Clemmons served as an election judge in the 2020 primary election

in Texas, and would have continued to serve as an election judge in upcoming elections. Plaintiff

Clemmons is unable to ascertain whether his duties as an election judge, requiring him to take

action where necessary to prevent poll watchers from speaking to voters, viewing voters’ ballots,

or otherwise being disorderly in the polling place, will require him to violate the Texas Election

Code as amended by S.B. 1.

       236.    Taken together, these provisions could expose Plaintiff Clemmons to criminal

liability for taking action also required by the Texas Election Code in future elections. Plaintiff

Clemmons has been and will be discouraged from serving as an election judge in the future for

fear that he may be subjected to arbitrary enforcement and criminal penalties under these new

provisions of law.

       237.    Implementation of S.B. 1 will irreparably harm Plaintiff Clemmons, and other

individuals who have and will serve as public officials in elections in the State.

                                            Count Six

                        Violation of Section 208 of the Voting Rights Act
                                        52 U.S.C. §10508
                                  (Right to Assistor of Choice)




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       238.    Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1-

237, as if fully set forth herein.

       239.    Section 208 of the Voting Rights Act, 52 U.S.C. § 10508 provides that: “Any voter

who requires assistance to vote by reason of blindness, disability, or inability to read or write may

be given assistance by a person of the voter’s choice other than the voter’s employer or agent of

that employer or officer or agent of the voter’s union.” The right to an assistor of choice when

voting, under Section 208, “plainly contemplates more than the mechanical act of filling out the

ballot sheet. It includes steps in the voting process before entering the ballot box, ‘registration,’

and it includes steps in the voting process after leaving the ballot box, ‘having such ballot counted

properly.’” OCA-Greater Houston v. Texas, 867 F.3d 604, 614 (5th Cir. 2017) (quoting 52 U.S.C.

§10310(c)(1)). Moreover, the only restrictions on who can act as an assistor are set forth in the

plain text of Section 208: “[t]he assistor cannot be the voter’s employer, an agent of the voter’s

employer, or an agent of the voter’s labor union.” Id. at 608.

       240.    S.B. 1, sections 6.01, 6.03, 6.04, 6.05, and 6.07, amending Texas Elec. Code

§§ 64.009, 64.0322, 64.034, 86.010, 86.013, will prevent voters with disabilities from receiving

assistance from a person of their choosing by requiring assistors to take several additional

burdensome steps and subjecting them to criminal penalties.

                                             Count Seven

                                        Against All Defendants
                           Title II of the Americans with Disabilities Act
                                     (42 U.S.C. § 12131, et seq.)
     (Discrimination on the basis of disability; Failure to Provide Reasonable Accommodations)

       241.    Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1-

240, as if fully set forth herein.




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       242.   Voting is a fundamental right. Yet individuals with disabilities have historically

been excluded from voting both de jure and de facto on the basis of their disability. See U.S.

Dep’t of Justice, The Americans With Disabilities Act and Other Federal Laws Protecting the

Rights of Voters With Disabilities 1, https://www.justice.gov/file/69411/download (last visited

May 11, 2021).

       243.   Congress enacted the ADA, 42 U.S.C. § 12101 et seq., to provide a clear and

comprehensive mandate for the elimination of discrimination against people with disabilities and

to provide strong and consistent standards for identifying and addressing such discrimination. 42

U.S.C. § 12101(b)(1) & (2). “The ADA is a ‘broad mandate’ of ‘comprehensive character’ and

‘sweeping purpose’ intended ‘to eliminate discrimination against disabled individuals, and to

integrate them into the economic and social mainstream of American life.’” Frame v. City of

Arlington, 657 F.3d 215 (5th Cir. 2011) (internal citations omitted).

       244.   The ADA is based on Congress’s findings that, inter alia:

        a.    “[H]istorically, society has tended to isolate and segregate individuals with

              disabilities, and, despite some improvements, such forms of discrimination against

              individuals with disabilities continue to be a serious and pervasive social problem,”

              42 U.S.C. § 12101(a)(2);

        b.    “[I]ndividuals with disabilities continually encounter various forms of

              discrimination, including . . . relegation to lesser services, programs, activities,

              benefits, jobs, or other opportunities,” 42 U.S.C. § 12101(a)(5); and

        c.    “[D]iscrimination against individuals with disabilities persists in such critical areas

              as . . . voting.” 42 U.S.C. § 12101(a)(3). See Nat'l Fed’n of the Blind v. Lamone,

              813 F.3d 494, 507 (4th Cir. 2016) (“Voting is a quintessential public activity[,]”



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               and “[e]nsuring that disabled individuals are afforded an opportunity to participate

               in voting that is equal to that afforded others helps ensure that those individuals are

               never relegated to a position of political powerlessness.”) (citations omitted).

       245.    Title II of the ADA mandates that “no qualified individual with a disability shall,

by reason of such disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to discrimination by any such

entity.” 42 U.S.C. § 12132; see also 28 C.F.R. § 35.130.

       246.    The ADA defines a “disability” as “a physical or mental impairment that

substantially limits one or more major life activities.” 42 U.S.C. § 12102(1)(A). The members

and/or constituents of Plaintiffs’ organizations include individuals with disabilities within the

meaning of the ADA and are entitled to the protections of the ADA. These individuals have

impairments that substantially limit one or more of their major life activities, including, but not

limited to “caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,

standing, lifting, bending, speaking, breathing, learning, reading, concentrating, thinking,

communicating, and working.” 42 U.S.C. § 12102(2)(A). These individuals are qualified for the

programs, services, and activities being challenged herein in that they are registered voters or

otherwise eligible to request and cast a ballot, in Texas elections, and are qualified to participate

in Defendants’ programs and activities related to voting. 42 U.S.C. § 12131(2).

       247.    Title II of the ADA applies to all services, programs, and activities of public

entities, including voting. 42 U.S.C. § 12132. All state and local Defendants are public entities as

defined by Title II of the ADA, and individual Defendants are the public officials responsible for

running these public entities and supervising their operations and must comply with Title II of the

ADA. 42 U.S.C. § 12131(1).




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       248.    The ADA directed the Attorney General of the United States to promulgate

regulations enforcing Title II of the ADA and provide guidance on their content. 42 U.S.C. §

12134. The regulations that the Attorney General promulgated require public entities to “make

reasonable modifications” to their programs and activities “when the modifications are necessary

to avoid discrimination.” 28 C.F.R. § 35.130(b)(7). The regulations also specify that it is unlawful

discrimination for a public entity to:

        a.     “Afford a qualified individual with a disability an opportunity to participate in or

               benefit from the aid, benefit, or service that is not equal to that afforded others,” 28

               C.F.R. § 35.130(b)(1)(ii);

        b.     “Provide a qualified individual with a disability with an aid, benefit, or service that

               is not as effective in affording equal opportunity to obtain the same result, to gain

               the same benefit, or to reach the same level of achievement as that provided to

               others,” 28 C.F.R. § 35.130(b)(1)(iii);

        c.     “[U]tilize criteria or methods of administration . . . [t]hat have the purpose or effect

               of defeating or substantially impairing accomplishment of the objectives of the

               public entity’s program with respect to individuals with disabilities.” 28 C.F.R. §

               35.130(b)(3)(ii).

        d.     “[I]mpose or apply eligibility criteria that screen out or tend to screen out” people

               with disabilities from “fully and equally enjoying” the programs, services or

               activities of state and local governments.” 28 C.F.R. § 35.130(b)(8).

       249.    The ADA further states that it is unlawful to “coerce, intimidate, threaten, or

interfere with any individual in the exercise or enjoyment of...or on account of his or her having




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aided or encouraged any other individual in the exercise or enjoyment of” any right protected by

the ADA. 42 U.S.C. § 12203.

       250.   Congress specifically authorized individuals who believe their Title II ADA rights

are being violated to bring an action in a United States District Court. 42 U.S.C. § 12133

(incorporating the remedies and enforcement procedures available under Title VI of the Civil

Rights Act, which includes a private right of action).

       251.   The challenged provisions of S.B. 1 collectively and individually discriminate

against people with disabilities in exercising their right to vote, including on members and/or

constituents of Plaintiffs’ organizations. As described above:

        a.    S.B. 1 Section 5.02, in requiring specific identification numbers or a statement that

              the voter has not been issued such identification in order to apply for early voting,

              imposes eligibility criteria that tends to screen out people with disabilities and

              denies voters with disabilities equal access to the early voting ballot application

              process.

        b.    S.B. 1 Sections 6.01, 6.03 and 6.05, in requiring those assisting voters with

              disabilities to fill out onerous forms, subjecting assistors to criminal liability for

              submitting incorrect forms, and allowing poll watcher observations, interfere with

              the legal rights of voters with disabilities and those who assist them in exercising

              their rights and deny voters with disabilities equal access to voting.

        c.    S.B. 1 Section 6.04, in requiring those who assist voters to take an oath regarding

              the nature of their assistance under penalty of perjury, denies voters with disabilities

              equal access to voting by unlawfully limiting the scope of assistance the assistor

              can provide and interfering with the legal rights of voters with disabilities and those



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               who assist them in exercising their rights and deny voters with disabilities equal

               access to voting.

       252.    Through the acts and omissions described above, Defendants have discriminated

against Plaintiffs on the basis of disability in violation of Title II of the ADA and its implementing

regulations by:

        a.     (1) denying constituents of Plaintiffs with disabilities the opportunity to participate

               in and benefit from voting in a way that is equal to those afforded to those without

               disabilities;

        b.     (2) denying constituents of Plaintiffs with disabilities services that are as effective

               in affording equal opportunity to obtain the same result, gain the same benefit, or

               reach the same level of achievement as that provided other voters;

        c.     (3) imposing eligibility criteria that screen out or tend to screen out people with

               disabilities from fully and equally enjoying the state’s voting program;

        d.     (4) failing to reasonably modify the state’s voting system to provide the services

               the constituents of Plaintiffs with disabilities need to avoid discrimination;

        e.     (5) utilizing methods of administration that have the effect of defeating or

               substantially impairing the accomplishments of the objectives of Defendants’

               voting programs with respects to the constituents of Plaintiffs with disabilities; and

        f.     (6) interfering with the ability of voters with disabilities and those who assist them

               to exercise their rights under the ADA

       253.    The relief sought by Plaintiffs would not require a fundamental alteration to

Defendants’ programs, services, or activities.




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        254.   Sections 64.009, 64.0322, 64.034, 86.010, 86.013 of the Texas Election Code, as

amended by S.B. 1, discriminate against qualified Texas voters with disabilities in violation of

Title II of the Americans with Disabilities Act of 1990.

        255.   The acts and omissions of Defendants have caused and will continue to cause

Plaintiffs irreparable harm.

                                             Count Eight

                                      Against All Defendants
                           Section 504 of the Rehabilitation Act of 1973
                                          29 U.S.C. § 794
      (Discrimination on the Basis of Disability by Recipients of Federal Financial Assistance)

        256.   Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1-

255, as if fully set forth herein.

        257.   Section 504 of the Rehabilitation Act of 1973 (“Section 504”) prohibits

discrimination against people with disabilities by any program or activity receiving federal

financial assistance. 29 U.S.C. § 794. Under Section 504, otherwise qualified individuals with

disabilities may not be excluded from participation in, be denied the benefits of, or be subjected

to discrimination under any such program. 29 U.S.C. § 794(a). A program or activity includes

“all of the operations of a department, agency, special purpose district, or other instrumentality of

a State or of a local government.” 29 U.S.C. § 794(b)(1).

        258.   Section 504 prohibits covered entities from imposing or applying eligibility criteria

that screen out or tend to screen out people with disabilities from fully and equally enjoying the

benefits of the programs or activities of a covered entity.

        259.   Section 504 also prohibits covered entities from providing aids, benefits, or services

in such a way that qualified individuals are denied opportunities to participate or benefit, are not

afforded equal opportunity to obtain the same result as that provided to others, or are otherwise


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limited in the enjoyment of any right, privilege, advantage, or opportunity enjoyed by others

receiving the aid, benefit, or service.

        260.   A covered entity is required by Section 504 to make reasonable modifications in

policies, practices, or procedures when the modifications are necessary to avoid discrimination on

the basis of disability.

        261.   An “individual with a disability” who is “otherwise qualified” is eligible for relief

under Section 504. An individual with a disability is any person who has a disability as defined in

§ 12102 of the ADA, as described above. 29 U.S.C § 705.

        262.   Defendants’ programs, services, and activities receive Federal financial assistance.

Accordingly, Defendants are subject to the nondiscrimination requirements of Section 504. The

operations of Defendants are “program[s] or activit[ies]” within the meaning of 29 U.S.C. §

794(b)(1)(A)-(B).

        263.   Section 504 and the ADA are largely identical and courts interpret them in tandem.

Castle v. Eurofresh, Inc., 731 F.3d 901, 908 (9th Cir. 2013) (“The Rehabilitation Act is materially

identical to and the model for the ADA, except that it is limited to programs that receive federal

financial assistance.”).

        264.   As described in Count Seven, constituents and members of Plaintiff organizations

with disabilities are “otherwise qualified individuals with a disability.” By reason of their

disabilities, they are being excluded from participation in and being denied the benefits of voting

that is equal to that afforded other voters, and they are subjected to discrimination by Defendants.

Defendants are recipients of Federal financial assistance and thus are subject to the requirements

of the Rehabilitation Act, 29 U.S.C. § 794. Defendants’ actions and inactions constitute violations

of Section 504. The challenged provisions of S.B. 1 collectively and individually discriminate



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against people with disabilities in exercising their right to vote, including members and

constituents of Plaintiffs’ organizations, and constitute violations of Section 504

       265.    Sections 64.009, 64.0322, 64.034, 86.010, 86.013 of the Texas Election Code, as

amended by S.B. 1, deny qualified individuals with disabilities a full and equal opportunity to

participate in the State’s voting programs, in violation of Section 504.

       266.    The acts and omissions of Defendants have caused and will continue to cause

Plaintiffs irreparable harm.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

       267.    Issue a judgment declaring that the Challenged Provisions are illegal and

unconstitutional as described above, in violation of Sections 2 and 208 of the Voting Rights Act,

52 U.S.C. §§ 10301, 10508; the First, Fourteenth, and Fifteenth Amendments to the United States

Constitution; Title II of the Americans with Disabilities Act, 42 U.S.C. § 12131; and Section 504

of the Rehabilitation Act, 29 U.S.C. § 794.

       268.    Enjoin Defendants, and their respective agents, officers, employees, and

successors, and all persons acting in concert with each or any of them, from taking any action to

enforce or implement the Challenged Provisions of S.B. 1.

       269.    Award Plaintiffs their costs, expenses, and reasonable attorneys’ fees incurred in

the prosecution of this action, as authorized by Voting Rights Act, 52 U.S.C. § 10310(e), and the

Civil Rights Attorneys Fees Awards Act of 1976, 42 U.S.C. § 1988; the Americans with

Disabilities Act, 42 U.S.C. § 12205; and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794a.




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       270.   Grant such other equitable and further relief as the Court deems just and proper,

and as may be necessary to afford Plaintiffs the full relief to which they are entitled under the

United States Constitution, the Voting Rights Act, and other applicable federal law.



                                                Respectfully submitted September 7, 2021.

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